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5
       Attorneys for Chapter 11 Debtor and Debtor in Possession
6
7                               UNITED STATES BANKRUPTCY COURT
8                                CENTRAL DISTRICT OF CALIFORNIA
                                   SAN FERNANDO VALLEY DIVISION
9

10     In re:                                       Case No.: 1:22-bk-10545-VK
11     GUARACHI WINE PARTNERS INC.,                 Chapter 11 Case
12     a California corporation,
                                                   Subchapter V
13              Debtor and Debtor in Possession.

14                                                 DEBTORS MOTION FOR AN ORDER:
                                                   (1) APPROVING SALE OF CERTAIN ESTATE
15                                                 ASSETS FREE AND CLEAR OF ALL LIENS,
                                                   CLAIMS, ENCUMBRANCES AND INTERESTS;
16                                                 (2) APPROVING THE STIPULATION
17                                                 PROVIDING FOR PAYMENT IN FULL OF
                                                   OUTSTANDING SECURED DEBT OWING TO
18                                                 CITY NATIONAL BANK, N.A.;
                                                   (3) WAIVING THE 14-DAY STAY PERIOD OF
19                                                 BANKRUPTCY RULE 6004(h); AND
                                                   (4) GRANTING RELATED RELIEF;
20                                                 MEMORANDUM OF POINTS AND
21                                                 AUTHORITIES AND DECLARATIONS IN
                                                   SUPPORT THEREOF
22
                                                   Hearing:
23                                                  Date: October 13, 2022
                                                    Time: 2:00 p.m.
24
                                                    Place: Courtroom 301
25                                                          21041 Burbank Boulevard
                                                            Woodland Hills, CA 91367
26                                                          VIA ZOOMGOV

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1                   Guarachi Wine Partners Inc., the Chapter 11 debtor and debtor in possession herein (the

2     Debtor), herby moves the Court, by way of this motion (the Sale Motion), for the entry of an

3     order (the Sale Order):
4                   (1)     pursuant to 11 U.S.C. §§ 363(b) and (f), approving the sale of the Debtors
5          remaining wine inventory (the Inventory) and remaining wine brands and related intellectual

6          property (the Brands and, together with the Inventory, the Assets), which are further
7          described below, free and clear of any and all liens, claims, encumbrances and interests, to Titan
8          Wine & Spirits, LLC (Titan)1 for a purchase price of $430,080.00 (the Purchase Price);
9                   (2)     pursuant to 11 U.S.C. § 363(m), finding that Titan is a good faith purchaser

10         entitled to the protections afforded under 11 U.S.C. § 363(m);

11                  (3)     pursuant to the motion (the Bid Procedures Motion) [Dkt. 125] to approve bid
12         procedures (the Bid Procedures), which was granted pursuant to an order of the Court entered

13         on August 22, 2022 (the Bid Procedures Order) [Dkt. 137], authorizing Sherwood Partners, Inc.

14         (Sherwood), the Debtors Court approved sales agent, to execute and deliver a Bill of Sale of
15         the Assets to Titan;
16                  (4)     authorizing the Debtor to execute such other documents and to take such actions
17         necessary to complete the sale and transfer of the Assets to Titan;
18                  (5)      approving the Stipulation Providing For Payment In Full Of Outstanding Secured

19         Debt Owing To City National Bank, N.A. (the CNB Stipulation) attached hereto as Exhibit A
20         between the Debtor and City National Bank, N.A. (CNB), the Debtors senior secured creditor,

21         which provides for the payment of CNBs outstanding indebtedness in full;
22                  (6)     pursuant to the application (the Sherwood Employment Application) [Dkt. 123]

23         to employ Sherwood as the Debtors sales agent, which was approved pursuant to an order of the

24         Court entered on August 22, 2022 (the Sherwood Employment Order) [Dkt. 136], authorizing
25         and directing the Debtor to pay Sherwood a Success Fee (as defined in the Sherwood

26
27    1
        As discussed below, Alejandro Guarachi, who is the President, Chief Executive Officer, and Chief Financial Officer of
      the Debtor, is also the Chief Executive Officer, and sole member and manager of Titan, a wine distributor.
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1         Employment Application) in the amount of $38,707.20 (i.e., 9% of the Purchase Price of

2         $430,080.00 as specified in the Sherwood Employment Application and Sherwood Employment

3         Order);
4                   (7)   waiving the 14-day stay period set forth in Rule 6004(h) of the Federal Rules of
5         Bankruptcy Procedure to enable the sale of the Assets to close as quickly as possible; and

6                   (8)   providing such other relief as is appropriate under the circumstances.
7                   WHEREFORE, the Debtor respectfully requests that this Court enter a Sale Order
8     granting the Sale Motion and providing the relief requested in paragraphs (1) through (8) of the
9     foregoing Sale Motion.

10
      Dated: October 10, 2022            GUARACHI WINE PARTNERS INC.,
11
                                         a California corporation,
12
                                         /s/ Ron Bender
13                                       RON BENDER
                                         TODD M. ARNOLD
14                                       LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
15                                       Counsel for Chapter 11 Debtor and Debtor in Possession

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1                                 MEMORANDUM OF POINTS AND AUTHORITIES2

2
                                                                       I.
3
                                                      STATEMENT OF FACTS
4
      A.               GENERAL BACKGROUND.
5
                       On May 4, 2022 (the Petition Date), the Debtor commenced its bankruptcy case by
6
      filing a voluntary petition under Chapter 11 of the Bankruptcy Code.3 The Debtor elected Subchapter
7
      V on its bankruptcy petition and is a small business debtor as defined by Sections 101(51D) and
8
      1182(1).
9
                       The United States Trustee (the UST) appointed M. Douglas Flahaut to serve as the
10
      Subchapter V Trustee (the Sub V Trustee) in this case pursuant to Section 1183(a).
11
                       The Debtor continues to manage its financial affairs, operate its business, and administer
12
      its bankruptcy estate as a debtor in possession pursuant to Sections 1182(2) and 1184.
13
          B.           A DESCRIPTION OF THE DEBTOR AND ITS BUSINESS.
14
                       The Debtor was founded by Alejandro Guarachi (Mr. Guarachi), has been in business
15
          since 1985, and was formally incorporated in January 1988. Mr. Guarachi is the Debtors sole
16
          shareholder and its President, Chief Executive Officer, and Chief Financial Officer. When Mr.
17
          Guarachi came to the United States from Chile in 1985 on a soccer scholarship, an injury shattered
18
          his athletic dreams. Rather than wallow in his misfortune, he saw an opportunity to go back to his
19
          roots and pursue his other passion  wine.
20
                       While living in the heart of California wine country, Mr. Guarachi saw that wine from
21
          South America was virtually unknown and not readily available. Mr. Guarachi jumped at the
22
          opportunity to fill the gap and educate the American consumer on the amazing wines of his home
23
          country. Out of his garage, Mr. Guarachi was salesman, warehouse manager, marketer, and truck
24
          driver rolled into one. Years later, he built his company into a leading importer, marketer and
25

26    2
        Unless otherwise stated, capitalized terms in this Memorandum have the same meanings ascribed to them in the
27    preceding Sale Motion.
      3
          Unless otherwise stated, all Section references herein are to title 11 of the United States Code, §§ 101, et seq.
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1         producer of fine wines. In connection with the production of its own wines, the Debtor does not own

2         vineyards, but instead purchases grapes and juice from other producers and utilizes third-party

3         vintners to make and bottle its wines.
4                     Through the years, the Debtor has achieved numerous accolades including Wine
5         Enthusiast Wine Star Awards, Wine Spectator Top 100s and an Impact Hot Brand award. The

6         Debtor is now the number one importer of South American wines above $10 in the U.S., represents
7         brands from around the world, and has seen success developing its own innovative brands. The
8         Debtor distributes wine in over 20 states. Because of Mr. Guarachis vision in 1985, U.S. wine
9         consumers can now savor a glass of Argentine Malbec or Chilean Carménère, that were once

10        unheard of north of the equator, as well as California Pinot Noir, Chardonnay, red blends, Cabernet

11        Sauvignon, and more. The Debtor built its reputation as the pioneer of South American wines and
12        developed its own brands.4

13                    In furtherance of that end, in September 2018, the Debtor entered into an Asset Purchase

14        Agreement (the APA) with Parker Station, Inc. (PSI) whereby the Debtor purchased the Parker
15        Station brand and related goodwill, intellectual property, and other assets (collectively, the PSI
16        Assets). In connection with the APA, the Debtor also entered into a Wine Production Agreement
17        (the Parker Production Agreement) with PSI whereby PSI agreed to produce the products sold by
18        the Debtor under the Brand and the Debtor agreed to purchase at least 25,000 9 liter cases of such

19        product from PSI on an annual basis (the Post-Closing Inventory). The Debtors obligations under
20        the APA and Parker Production Agreement were secured by a lien on the PSI Assets and Post-

21        Closing Inventory.
22                    In addition to his ownership and positions with the Debtor, Mr. Guarachi is also the Chief

23        Executive Officer, and sole member and manager of Titan, a wine distributor.

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      4
          Additional information about the Debtor can be found at its website: http://www.guarachiwinepartners.com/.
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1      C.         A DESCRIPTION OF THE DEBTORS ASSETS, CLAIMS AGAINST THE
                  DEBTOR, AND STIPULATIONS RESOLVING THE TWO SECURED CLAIMS
2                 ASSERTED AGAINST THE DEBTOR.
3                 The Debtors primary assets include, but are not limited to, the following: (1) cash in the
4      approximate amount of $944,000, which includes cash on hand in the current approximate amount of
5      $750,000 plus $194,000 being held by Levene, Neale, Bender, & Golubchik L.L.P. (LNBYG), the
6      Debtors bankruptcy counsel, pursuant to the Kaiken Stipulation (as discussed and defined below),
7      which will be transferred to the Debtor in the near future pursuant to the terms of the Kaiken
8      Stipulation, (2) $90,000 being held by LNBYG pursuant to the Debtors cash collateral motion and
9      orders thereon [Dkts. 4, 29, 77, 142, and 145] as a reserve for the partial payment of bankruptcy
10     related legal fees, (3) a substantial amount of accounts receivable (AR), and (4) the Debtors
11     current wine inventory (referred to herein as the Inventory) and wine brands and related
12     intellectual property (referred to herein as the Brands and, with the Inventory, the Assets), which
13     the Debtor is seeking to sell to Titan for the Purchase Price of $430,080.00 pursuant to the Sale
14     Motion. Thus, once the sale is concluded the $194,000 Kaiken Stipulation settlement proceeds are
15     turned over to the Debtor, the Debtor will have well in excess of $1 million of cash plus a large
16     amount of remaining outstanding AR.        With minimal ongoing operating expenses, the Debtor
17     expects its cash balance to continue to grow.
18                As set forth in the UCC-1 Financing Statements filed against the Debtor and attached to
19     the UCC Report obtained by the Debtor (collectively, the UCC Report), a true and correct copy of
20     which is attached hereto as Exhibit B, as of the Petition Date, the Debtor had two secured
21     creditors: (1) CNB, the Debtors pre-petition lender, which has a current outstanding secured claim
22     in the approximate amount of $316,671.88 secured by a senior lien against all of the Debtors assets
23     and (2) PSI, which, as of the Petition Date, had a claim in the approximate amount of between
24     $426,000 (as set forth in the Debtors schedules) and $878,709.05 (as set forth in the four Proofs of
25     Claim 21-23 filed by PSI) secured by the PSI Assets.
26                The Debtor and PSI recently entered into that certain Stipulation Resolving Disputes
27     Between Debtor And Parker Station, Inc. (PSI Stipulation). The PSI Stipulation provides, inter
28     alia, that (1) the Debtor would stop selling PSI inventory pending approval of the PSI Stipulation

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1      and (2) upon approval of the PSI Stipulation, (a) PSI would take ownership of the remaining PSI

2      Assets (i.e., the PSI Inventory and PSI Brand) and (b) be deemed to have accepted the PSI Assets in

3      full satisfaction of the claims asserted by PSI against the Debtor. While not stated specifically in the
4      PSI Stipulation, consummation of the PSI Stipulation, particularly the transfer of the PSI Assets to
5      PSI, requires the release of CNBs senior lien on the PSI Assets. On September 20, 2022, the Debtor

6      filed a motion to approve the PSI Stipulation [Dkt. 152]; there were no objections to such motion
7      and, therefore, the Debtor expects that the PSI Stipulation will be approved in advance of the hearing
8      on this Sale Motion.
9                 In addition to the foregoing, the Debtor and CNB recently entered into or are expected to

10     enter into imminently the CNB Stipulation attached hereto as Exhibit A. The CNB Stipulation

11     provides that (1) within three business days following the entry of an order of the Court approving
12     the CNB Stipulation, the Debtor shall pay the sum of $316,671.88 to CNB, which, provided such

13     payment is made by no later than October 21, 2022, CNB acknowledges shall result in payment in

14     full of the Debtors outstanding indebtedness owing to CNB, which is accounted for in Exhibit 1
15     to the CNB Stipulation, and (2) within five business days following the Debtors payment to CNB,
16     CNB shall file a UCC-3 termination statement with the California Secretary of Statement
17     terminating CNBs lien against the Debtors assets. The Debtor believes that approval of the CNB
18     Stipulation is in the best interests of the estate because: (1) the Debtor agrees that it owes CNB

19     $316,671.88 as accounted for in Exhibit 1 to the CNB Stipulation, (2) the Debtor has sufficient
20     funds to pay the outstanding claim of CNB, (3) payment of such claim will stop the accrual of

21     additional interest and fees on the CNB debt and, therefore, preserve estate assets available for
22     distribution to other creditors, and (4) the required release of CNBs lien will facilitate

23     consummation of the PSI Stipulation.

24                In addition to the foregoing secured debt, which is/will be eliminated pursuant to the
25     CNB Stipulation and PSI Stipulation, the Debtor has approximately $60,000 in alleged priority

26     claims asserted by taxing authorities. See Proofs of Claim 10 and 35. The Debtor also has a number
27     of unsecured creditors with alleged claims totaling approximately $4.6 million. The foregoing

28     amount includes (1) the disputed, contingent, and unliquidated general unsecured claim asserted by

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1      Bodega Norton, S.A. (Bodega) in the approximate amount of $1.921 million, which claim is the

2      subject of pending litigation (now stayed) initiated by Bodega against the Debtor, to which the

3      Debtor has filed a counter-claim against Bodega in that litigation, (2) the contingent and
4      unliquidated general unsecured claim asserted by the Small Business Administration in the
5      approximate amount of $667,382 for a PPP loan, which loan the Debtor believes will be forgiven

6      pursuant to PPP loan guidelines, which forgiveness process the Debtor has already started, and (3)
7      certain other disputed, contingent, and unliquidated general unsecured claims.
8      D.         THE REASONS FOR FILING BANKRUPTCY AND EXIT STRATEGY.
9                 Like many companies, the Debtor suffered a downturn in business due to the COVID-19
10     pandemic. The Debtors business was also affected by global supply chain issues, cost increases,
11     and the aforementioned dispute with Bodega, the Debtors primary supplier of Argentinian wines,
12     which resulted in Bodega refusing to renew its agreement with the Debtor to be the exclusive
13     importer of Bodega wines. Due to the foregoing business issues and costs associated with litigating
14     with Bodega and another primary wine supplier, the Debtor was unable to pay creditors as their
15     debts became due. With its cash balance down to a small number and in order to obtain a breathing
16     spell from litigation and immediate demands for payment by creditors and suppliers, and to afford
17     itself an opportunity for an improvement in demand for wine and potential cost reductions and a
18     hopeful successful reorganization, the Debtor decided to file for Chapter 11 protection.
19                Before the Petition Date and soon thereafter, the Debtor was hopeful that as the COVID-
20     19 related downturn in business and supply chain issues subsided, it would be able to rebuild its
21     sales and business and emerge as a viable enterprise. Unfortunately, due to (1) the inability to
22     overcome the negative impacts resulting from the foregoing global issues and the filing of the
23     Debtors bankruptcy case, (2) the inability to stabilize relationships with vendors and customers after
24     the Petition Date, and (3) resulting mounting operating losses, the Debtor, in an exercise of its
25     business judgment, determined that it would be in the best interests of the estate and its creditors to
26     sell the Assets (i.e., the Inventory and the Brands), provided that the Assets offered for sale at the
27     Auction would not include the Debtors cash, AR, litigation claims, or other items not included in
28     the definition of Assets.

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1
          E.          THE DEBTORS EMPLOYMENT OF SHERWOOD AS ITS SALES AGENT
2                     AND APPROVAL OF BID PROCEDURES FOR AN AUCTION OF THE
3                     ASSETS.
                      In furtherance of its efforts to sell the Assets, on July 28, 2022, the Debtor filed the
4
          Sherwood Employment Application [Dkt. 123] seeking (1) to employ Sherwood as the Debtors sales
5
          agent in connection with an auction of the Assets (the Auction), (2) to pay Sherwood a $35,000
6
          Advisory Fee (as defined in the Sherwood Employment Application), which has been paid, and (3)
7
          to pay Sherwood a 9% Success Fee (as defined in the Sherwood Employment Application, i.e., 9% of
8
          the total consideration received from the sale of the Assets to third-parties) upon closing pursuant to
9
          the terms set forth in the Sherwood Employment Application and the Engagement Letter Agreement
10
          between the Debtor and Sherwood attached to the Sherwood Employment Application as Exhibit 1,
11
          as modified by the terms set forth in the Sherwood Employment Application. On August 22, 2022,
12
          the Court entered the Sherwood Employment Order [Dkt. 136] approving the Sherwood Employment
13
          Application, including the compensation set forth above.
14
                      Also on July 28, 2022, the Debtor filed its Bid Procedures Motion [Dkt. 125] to approve
15
          the Bid Procedures for an Auction of the Assets. In the Bid Procedures Motion, the Debtor disclosed
16
          that Alejandro Guarachi, the Debtors owner, President, and CEO, may bid on certain Assets and
17
          has retained independent counsel in connection with any such bid. Bid Procedures Motion, n.3 and
18
          21:9-13. On August 22, 2022, the Court entered the Bid Procedures Order [Dkt. 137] approving the
19
          Bid Procedures and authorizing Sherwood to execute and deliver a Bill of Sale of the Assets to the
20
          winning bidder(s) for the Assets. The Bid Procedures were approved by the Court and sent to
21
          Potential Bidders.5 The Bid Procedures advised Potential Bidders that [t]he Debtors inventory has
22
          some turnover as wine is purchased and sold in the ordinary course of the Debtors business.
23
          Therefore, the inventory list will be updated when the Bidding Procedures are sent out to prospective
24
          Bidders and as the inventory list is further updated, the most current version of the inventory list will
25
          be made available to prospective Bidders. The Bid Procedures require that the sale of the Assets
26
27
      5
          Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Bid Procedures.
28

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1      close by no later than October 17, 2022, unless the deadline is extended by mutual agreement of the

2      Debtor and the buyer.

3                  After the Bid Procedures were approved, the Court entered an order [Dkt. 148] granting
4      the Debtors motion to approve the Stipulation Resolving Disputes Between Debtor And Kaiken S.A.
5      (the Kaiken Stipulation) [Dkt. 134]. The Kaiken Stipulation provides, inter alia, for Kaiken to pay

6      the Debtor $194,000 and to waive all claims against the Debtor in exchange for a transfer of
7      ownership of the Debtors Kaiken Inventory to Kaiken. Consistent with the foregoing, the Debtor
8      removed the Kaiken Inventory from the list of Inventory available for purchase at the Auction.
9      Further, based on the pending PSI Stipulation, the Debtor removed the PSI Inventory and PSI Brand

10     from the Assets available for purchase at the Auction.

11                 Leading up to the Auction, the Debtor continued to sell Inventory in the ordinary curse of
12     business, because the Debtor, in an exercise of its business judgment and in consultation with and

13     with the agreement of Sherwood, determined that the sale of Inventory in the ordinary course would

14     result in higher sale prices than would likely be achieved via the Auction, which would serve the best
15     interest of creditors.
16     F.          THE MARKETING OF THE ASSETS AND THE AUCTION.
17                 Sherwood developed a target list of 90 Potential Bidders from Sherwoods database,
18     research, and discussions with the Debtors management. Sherwood provided all of the Potential
19     Bidders with information regarding the Auction, i.e., an Executive Summary regarding the Assets
20     for sale and the Bidding Procedures, which included a list of the Assets to be sold at the Auction, as
21     amended based on the Kaiken Stipulation and PSI Stipulation. A summary of the outreach to
22     Potential Bidders included the following key dates:
23                         Sales Process Launch Date: August 30, 2022,
24                         First Follow-up: September 1, 2022,
25                         Second Follow-up: September 7, 2022,
26                         Third Follow-up: September 12, 2022,
27                         Fourth Follow-up: September 19, 2022,
28                         Fifth Follow-up: September 26, 2022; and

                                                        10
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1                         Overall: communicating with Potential Bidders.

2                  Some of the key reasons for a number of bidders not bidding on the Assets included the

3     following:
4                         This category of wine is not a good fit and not aligned well with our business,
5                         The volume is too low,

6                         Outside our consumer health portfolio interests,
7                         They dont purchase out of bankruptcy situations or asset liquidations,
8                         Not in their core acquisition interests,
9                         Wine is of too low value for our customers, and

10                        They dont see this as a high growth consumer brand. s,

11
                   Ultimately, Sherwood received three Qualified Bids from three Qualified Bidders, as
12
      follows:
13

14    Bidder                             Amount of Bid                 Number of Cases   Assets_________
      Grocery Outlet                     $217,080.00                   18,090 cases      Inventory only
15
      Miller Family Wines (Miller)     $187,945.00                   16,580 cases      Inventory and Brands
16    Titan                              $154,323.00                   20,436 cases      Inventory and Brands

17
                   Some of the difference in the case count of the Inventory resulted from an error in the
18
      function adding the total wine cases in Inventory. Based on the foregoing, and because the highest
19
      bid did not include the Brands, in advance of the Auction, the Qualified Bidders were advised that (1)
20
      the winning bid at the Auction would be the highest Qualified Bid submitted at the Auction,
21
      regardless of which Assets the Qualified Bidder desires to include in its bid, (2) the winning Bidder
22
      would have the right up until the time of the sale closing to exclude any Assets that the winning
23
      Bidder elects not to take but the winning Bidder will not receive any credit or price reduction for
24
      leaving any wine Inventory or Brands behind, (3) if the winning Bidder announces at the conclusion
25
      of the Auction that there are certain Assets that the winning Bidder is not interested in acquiring, the
26
      other Bidders would be welcome to submit a bid following the conclusion of the Auction for some or
27
      all of those excluded Assets and any such bid would be considered for approval by Sherwood, and (4)
28

                                                          11
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1     if the winning Bidder announces at a later date up until the time of the sale closing that there are

2     certain Assets that the winning Bidder is not interested in acquiring, Sherwood will notify the other

3     bidders of the availability of these excluded Assets and will provide the other Bidders with the
4     opportunity to submit a bid at that time for some or all of those excluded Assets and any such bid will
5     be considered for approval by Sherwood.

6                 Pursuant to the Bid Procedures, the Auction commenced at 10:00 a.m. on October 6,
7     2022. All parties participated via Zoom as allowed by the Bid Procedures. Due to the fact that Titan
8     is an insider of the Debtor, Titan participated in the Auction via Mr. Guarachi and independent
9     counsel. Mr. Guarachi did not provide any input on the Debtors side, and Sherwood with the

10    assistance of LNBYG ran the Auction. The bids for the Assets at the Auction were as follows and, as

11    noted below, resulted in Titan being the winning Bidder with a bid/Purchase Price of $430,080:
12
      1    Grocery Outlet              $217,080          13    Miller                        $350,000
13    2    Miller                      $222,080          14    Titan                         $355,000
      3    Titan                       $227,080          15    Miller                        $375,000
14    4    Grocery Outlet              Out               16    Titan                         $380,000
           Break-out for Miller and                      17    Miller                        $390,000
15         Grocery Outlet to
16         discuss possible joint
           bid.
17    5    Miller                      $250,000          18    Titan                         $395,000
      6    Titan                       $255,000                Break-outs for Miller and
18                                                             Titan.
      7    Miller                      $275,000          19    Miller                        $400,000
19
           Break-outs for Miller                         20    Titan                         $405,000
20         and Titan.
      8    Titan                       $280,000          21    Miller                        $415,000
21    9    Miller                      $300,000          22    Titan                         $420,000
      10   Titan                       $305,000          23    Miller                        $425,080
22
      11   Miller                      $325,000          24    Titan  WINNING BID           $430,080
23    12   Titan                       $330,000          25    Miller                        Out

24
25                At the conclusion of the Auction, Titan advised the other Qualified Bidders and

26    Sherwood that it would likely be excluding certain Assets from its purchase. Titan has not yet

27    specified the excluded Assets. Once Titan does so, Sherwood will offer the excluded Assets for sale

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1     to the other Qualified Bidders and, if neither of them purchases the excluded Assets, the Debtor will

2     seek to otherwise dispose of them.

3                 Sherwood believes that the Auction was conducted in conformance with the Bid
4     Procedures, without any collusion, and that the Auction yielded the highest possible price for the
5     Assets under the circumstances, particularly given the foregoing active bidding among three

6     Qualified Bidders.
7                                                        II.
8                                             LEGAL ARGUMENT
9     A.          THE COURT SHOULD APPROVE THE SALE OF THE ASSETS TO TITAN.
10
                  1.       THE DEBTOR HAS OR WILL HAVE COMPLIED WITH ALL
11                         APPLICABLE NOTICE REQUIREMENTS.

12                Section 363(b)(1) provides that the Debtor, after notice and a hearing, may use, sell or

13    lease, other than in the ordinary course of business, property of the estate. 11 U.S.C. § 363(b)(1).

14    Section 102(1) defines after notice and a hearing as after such notice as is appropriate in the

15    particular circumstances, and such opportunity for hearing as is appropriate in the particular

16    circumstances. 11 U.S.C. § 102(1)(A).

17                FRBP 6004(a) provides, in pertinent part, that notice of a proposed sale not in the

18    ordinary course of business must be given pursuant to FRBP 2002(a)(2), (c)(1), (i) and (k), and, if

19    applicable, in accordance with Section 363(b)(2).        Fed.R.Bankr.P. 6004(a).     FRBP 2002(a)(2)

20    requires at least 21 days notice by mail of a proposed sale of property of the estate other than in the

21    ordinary course of business, unless the Court for cause shown shortens the time or directs another

22    method of giving notice. Fed.R.Bankr.P. 2002(a)(2). Here, pursuant to the Bid Procedures Order,

23    the Court shortened the notice period, and the Debtor complied with the Bid Procedures by filing and

24    serving the Notice of the Sale Motion and the Sale Motion on October 10, 2022, by 10:00 a.m.

25    FRBP 2002(c)(1) requires that the notice of a proposed sale include the date, time and place of any

26    public sale, the terms and conditions of any private sale, and the time fixed for filing objections. It

27    also provides that the notice of sale or property is sufficient if it generally describes the property.

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1     Fed. R. Bankr. P. 2002(c)(1). FRBP 2002(k) requires that the notice be given to the United States

2     Trustee. Fed.R.Bankr.P. 2002(k).

3                 In addition, LBR 6004-1 requires that the notice contain the information specified in
4     LBR 6004-1(c)(3) and that an additional copy of the notice be submitted to the Clerk of the
5     Bankruptcy Court together with a Form F 6004-2.NOTICE.SALE at the time of filing for purposes of

6     publication. LBR 6004-1(c)(3) and (f).
7                 The Debtor has or will have complied with all of the above provisions of the Bankruptcy
8     Code, the FRBP and the LBR, as modified by the Bid Procedures Order. The Debtor has complied
9     with FRBP 6004(a) and 2002(a)(2), (c)(1), (i) and (k), as well as LBR 6004-1(c)(3), as far as

10    practicable under the circumstances, because the Notice of the Sale Motion includes all of the

11    required information set forth above, including, without limitation, the date, time and place of the
12    hearing on the Sale Motion to approve the proposed sale of the Assets to Titan, the deadline for

13    objecting to the Sale Motion, and related deadlines, and the Notice of the Sale Motion has been

14    served on the Office of the United States Trustee, the Sub V Trustee, the Debtor, all of the Debtors
15    known creditors, all alleged secured creditors appearing on the Title Report, and all parties requesting
16    special notice. Further, this Sale Motion and its annexed Memorandum, Declarations, and Exhibits
17    will be served on the Office of the United States Trustee, the Sub V Trustee, the Debtor, all alleged
18    secured creditors appearing on the Title Report, and all parties requesting special notice.

19    Additionally, the Notice of the Sale Motion advises parties in interest how and where to obtain a full
20    copy of this Motion and its annexed Memorandum, Declarations, and Exhibits.

21                Further, as required by LBR 6004-1(f), concurrently with the filing hereof, the Debtor
22    submitted an additional copy of the Notice of the Sale Motion, which includes required information

23    about the proposed sale of the Assets, with the Clerk of the Bankruptcy Court together with a Form F

24    6004-2.NOTICE.SALE for purposes of publication.
25                Based on the foregoing, all applicable notice requirements have been satisfied.

26
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1                 2.      THE SALE OF THE ASSETS TO TITAN SHOULD BE APPROVED,
                          BECAUSE GOOD BUSINESS REASONS FOR THE SALE EXIST, THE
2                         PURCHASE PRICE FOR THE ASSETS IS FAIR AND REASONABLE
3                         AND THE HIGHEST BID SUBMITTED AT THE AUCTION, AND THE
                          PROPOSED SALE IS IN THE BEST INTERESTS OF THE ESTATE AND
4                         ITS CREDITORS.

5                 As a general matter, a court considering a motion to approve a sale under Section 363(b)

6     should determine from the evidence presented before it that a good business reason exists to grant

7     such a motion. In re Lionel Corp., 722 F.2d 1063, 1071 (2d Cir. 1983). In addition, the court must

8     further find that the sale is in the best interest of the estate. To make this determination, the Court

9     should consider whether:

10                        (1)    the sale is fair and reasonable, i.e., the price to be paid is adequate;
                          (2)    the property has been given adequate marketing;
11                        (3)    the sale is in good faith, i.e., there is an absence of any lucrative deals with
12                               insiders, and
                          (4)    adequate notice has been provided to creditors.
13

14    In re Wilde Horse Enterprises, Inc., 136 B.R. 830, 841-2 (Bankr. C.D. Cal. 1991); In re The Landing,

15    156 B.R. 246, 249 (Bankr. E.D. Mo. 1993); In re Mamas Original Foods, Inc., 234 B.R. 500, 502-

16    505 (C.D. Cal. 1999).      Here, the proposed sale of the Assets to Titan satisfies each of these

17    requirements.

18                        a.     Sound Business Purpose.

19                The Ninth Circuit Bankruptcy Appellate Panel in Walter v. Sunwest Bank (In re Walter),

20    83 B.R. 14, 19 (B.A.P. 9th Cir. 1988) has adopted a flexible case-by-case test to determine whether

21    the business purpose for a proposed sale justifies disposition of property of the estate under Section

22    363(b). The facts pertaining to the sale at issue here amply substantiate the Debtors business

23    decision that the contemplated sale of the Assets to Titan serves the best interests of the estate and

24    merits the approval of this Court.

25                The Debtors sale of the Assets and conduct of the Auction was all designed to maximize

26    the recovery for the Debtors creditors. After substantial marketing of the Assets and an Auction

27    conducted pursuant to the Bid Procedures that resulted in 24 rounds of bidding, the Purchase Price

28    offered by Titan is the highest and best offer received by the Debtor. Further, the Sale Motion,

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1     including the requested approval of the CNB Stipulation, will result in the satisfaction of all secured

2     claims and eliminate ongoing operational losses and the further

3                 Based on the foregoing, the proposed sale is in the best interests of the Debtors estate
4     and its creditors and, therefore, represents a sound exercise of the Debtors business judgment.
5                         b.     Fair and Reasonable Price.

6                 In order for a sale to be approved under Section 363(b), the purchase price must be fair
7     and reasonable. See generally, In re Canyon Partnership, 55 B.R. 520 (Bankr. S.D. Cal. 1985). The
8     trustee is given substantial discretion in this regard. Id. In addition, Courts have broad discretion
9     with respect to matters under section 363(b). See Big Shanty Land Corp. v. Comer Properties, Inc.,

10    61 B.R. 272, 278 (Bankr. N.D. Ga. 1985). In any sale of estate assets, the ultimate purpose is to

11    obtain the highest price for the property sold. Wilde Horse Enterprises, Inc., 136 B.R. at 841 (citing
12    In re Chung King, Inc., 753 F.2d 547 (7th Cir. 1985)), In re Alpha Industries, Inc., 84 B.R. 703, 705

13    (Bankr. Mont. 1988).

14                As noted above, Sherwood, the Debtors sales agent, engaged in expansive marketing
15    efforts regarding the sale of the Assets. Those efforts resulted in the current $430,080.00 offer for the
16    Assets, which will result in gross sale proceeds to the Debtors estate of $391,372.80 after the
17    payment of Sherwoods Success Fee in the amount of $38,707.20 (i.e., 9% of the Purchase Price of
18    $430,080.00 as specified in the Sherwood Employment Application and Sherwood Employment

19    Order). As noted, Titans offer was obtained at the conclusion of an Auction involving three
20    Qualified Bidders and 24 rounds of bidding conducted pursuant to the Bid Procedures approved by

21    the Court, which were designed and approved as a means to ensure that the highest price possible was
22    obtained for the Assets.

23                Based on the foregoing, the Debtor submits that the Purchase Price represents fair and

24    reasonable value for the Assets.
25                        c.     Adequate Marketing.

26                The intensive marketing efforts undertaken by Sherwood as the sales agent are set forth
27    in detail above and are not repeated here. In consideration of the foregoing marketing efforts, the

28    Assets were adequately marketed. Sherwood does not believe that any additional marketing would

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1     result in a higher price being paid for the Assets as Sherwood had already contact everyone that

2     Sherwood could think of that would be a potential bidder for the Assets.

3                         d.      Good Faith.
4                 When a Bankruptcy Court authorizes a sale of assets pursuant to Section 363(b)(1), it is
5     required to make a finding with respect to the good faith of the purchaser. In re Abbotts Dairies,

6     788 F.2d at 149. Such a procedure ensures that Section 363(b)(1) will not be employed to circumvent
7     creditor protections. Id. at 150. With respect to the Debtors conduct in conjunction with the
8     proposed sale of the Assets, the good faith requirement focuses principally on whether there is any
9     evidence of fraud, collusion between the purchaser and other bidders or the trustee, or an attempt to

10    take grossly unfair advantage of other bidders. Abbotts Dairies, 788 F.2d at 147; Wilde Horse

11    Enterprises, 136 B.R. at 842.
12                In addition, as stated in Wild Horse Enterprises:

13                        It is not bad faith per se for an insider to purchase property from an estate,
14                        even where the insider has a fiduciary duty to the estate. [In re Apex Oil
                          Co., 92 B.R. 847, 869-70 (Bankr. E.D. Mo. 1988)], citing In re Andy
15                        Frain Services, Inc., 798 F.2d 1113, 1125 (7th Cir. 1986); In re Naron &
                          Wagner, Chartered, 88 B.R. 85, 88 (Bankr. Md. 1988); and In re Ancor
16                        Exploration Co., 30 B.R. 802, 808 (Bankr. N.D. Okla.1983). The question
                          of good faith, even under these circumstances however, turns on whether
17
                          debtor breached its fiduciary duty of full disclosure.
18

19    Wilde Horse Enterprises, 136 B.R. at 842. The important thing with insider sales is that the debtor
20    fully discloses to the court and creditors the relationship between the buyer and seller, as well as the
21    circumstances under which the negotiations have taken place, any marketing efforts, and the factual
22    basis upon which the debtor determined that the price was reasonable. Id.
23                Here, as discussed above, the Debtor and Titan disclosed to the Court, creditors, and the
24    two other Qualified Bidders that Titan was an insider and could and would participate in the Auction.
25    Further, as discussed above, due to the fact that Titan is an insider of the Debtor, Titan participated in
26    the Auction via Mr. Guarachi and independent counsel; Mr. Guarachi did not provide input on the
27    Debtor side; and Sherwood with the assistance of LNBYG ran the Auction. As also discussed above,
28    there were two-non-insider Qualified Bidders that bid at the Auction and there were many rounds of
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1     bidding at the Auction culminating in a winning bid by Titan of $430,080, which is almost twice as

2     much as Grocery Outlets $217,080 initial bid that was the highest at the time the Auction

3     commenced and served as the opening bid at the Auction. Lastly, the Auction was conducted in
4     accordance with the Bid Procedures approved by the Court. All three bidders that participated in the
5     Auction were provided every requested opportunity to break from the Auction and to bid more for the

6     Assets if they wanted to, and with the consent of all parties, Miller and Grocery Outlets teamed up at
7     the Auction after Grocery Outlets dropped out of the Auction.
8                 Based on the foregoing, and for the reasons set forth in the annexed declaration of Bernie
9     Murphy in support of the Sale Motion and in Mr. Guarachis separately filed declaration in support of

10    the Sale Motion, the Debtor submits that there has been no fraud or collusion in connection with the

11    proposed sale of the Assets. Therefore, the good faith requirement has been satisfied, and Titan
12    should be deemed a good faith purchaser under Section 363(m) and entitled to the benefits under

13    Section 363(m).

14                       e.      Accurate and Reasonable Notice.
15                The purpose of the notice is to provide an opportunity for objections and hearing before
16    the Court if there are objections. In re Karpe, 84 B.R. 926, 930 (Bankr. M.D.Pa. 1988). A notice is
17    sufficient if it includes the terms and conditions of the sale and if it states the time for filing
18    objections. Id.

19                As set forth in detail in Paragraph II.A.1 above, the Debtor has or will have complied
20    with all of the applicable notice provisions of the Bankruptcy Code, the FRBP and the LBR as

21    modified by the Bid Procedures Order. Thus, the Notice of the Sale Motion (and proposed sale of the
22    Assets) should be deemed adequate, accurate, and reasonable by the Court.

23    B.          THE COURT SHOULD APPROVE THE SALE OF THE ASSETS TO TITAN
                  FREE AND CLEAR OF ALL LIENS, CLAIMS, ENCUMBRANCES, AND
24                INTERESTS.
25                1.     APPLICABLE STANDARDS.
26                The Court has the power to authorize the sale of property free and clear of liens, claims,
27    or interests. See 11 U.S.C. § 363(f); In re Gerwer, 898 F.2d 730, 733 (9th Cir. 1990).

28                Section 363(f) permits a sale of property free and clear of any interest in such property

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1     of an entity other than the estate if any one of the following five conditions is met:

2                          (1)    applicable nonbankruptcy law permits sale of such
3                                 property free and clear of such interest;

4                          (2)    such entity consents;

5                          (3)    such interest is a lien and the price at which such
                                  property is to be sold is greater than the aggregate value
6
                                  of all liens on such property;
7
                           (4)    such interest is in bona fide dispute; or
8
                           (5)    such entity could be compelled, in a legal or equitable
9                                 proceeding, to accept a money satisfaction of such
                                  interest.
10

11    11 U.S.C. § 363(f). Section 363(f) is written in the disjunctive; thus, satisfaction of any one of the

12    five conditions is sufficient to sell property free and clear of liens. See e.g., Citicorp Homeowners

13    Services, Inc. v. Elliot (In re Elliot), 94 B.R. 343, 345 (Bankr. E.D. Pa. 1988); Mutual Life Ins. Co. of

14    New York v. Red Oak Farms, Inc. (In re Red Oak Farms, Inc.), 36 B.R. 856, 858 (Bankr. W.D. Mo.

15    1984).

16                         a.     Section 363(f)(2).

17                  In regard to Section 363(f)(2), the consent of an entity asserting an interest in the

18    property sought to be sold, as referenced in Section 363(f)(2), can be implied if such entity fails to

19    make a timely objection to the sale after receiving notice of the sale. In re Eliot, 94 B.R. 343, 345

20    (E.D. Pa. 1988); see also, In re Ex-Cel Concrete Company, Inc., 178 B.R. 198, 203 (B.A.P. 9th Cir.

21    1995) (The issue here is whether there was consent or non-opposition by Citicorp.); In re

22    Paddlewheels, Inc., 2007 WL 1035151 (Bankr. E.D.La. April 2, 2007) (The Sale Motion complies

23    with section 363(f) of the Bankruptcy Code, in that the Trustee either obtained the consent of

24    Whitney to the sale of the Vessel to Purchaser or Whitney had no objection to the Sale.); In re

25    Gabel, 61 B.R. 661 (Bankr. W.D. La. 1985) (implied consent is sufficient to authorize a sale under §

26    363(f)(2)).

27                  Here, because the PSI Stipulation and the Sale Motion, which provides for the approval

28    of the CNB Stipulation, will result in the full satisfaction of CNB and PSIs secured claims, which are

                                                          19
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1     the only known secured claims against the estate, the Debtor does not believe that CNB or PSI will

2     object to the Sale Motion and that each of them will support the Sale Motion.

3                 Based on the foregoing, the Assets can be sold free and clear and all liens, claims,
4     encumbrances and interests pursuant to Section 363(f)(2).
5                         b.      Section 363(f)(3).

6           Here, PSIs secured claim will be satisfied pursuant to the PSI Stipulation, which provides that
7     PSIs secured claim will be satisfied via the transfer of the PSI Assets back to PSI. As discussed
8     above, the net Purchase Price of $391,372.80 to be retained by the estate after the payment of
9     Sherwoods Success Fee exceeds CNBs secured claim in the amount of $316,671.88.

10                Based on the foregoing, the Assets can be sold free and clear and all liens, claims,

11    encumbrances and interests pursuant to Section 363(f)(3).
12    C.          THE COURT SHOULD APPROVE THE PAYMENT OF CERTAIN CLAIMS
                  FROM SALE PROCEEDS UPON THE CLOSE OF THE SALE OF THE ASSETS.
13
                  LBR 6004-1(h) provides as follows:
14
                          A disbursement of proceeds [from a sale of estate property] must
15
                          not be made without a specific order of the court authorizing the
16                        disbursement, except for payment to secured creditors, payment to a
                          debtor of exempt proceeds, and payment for expenses of sale.
17                        Proceeds may be disbursed to pay auctioneers fees and brokers
                          commissions without additional order of the court if payment is
18                        consistent with the terms of the order approving the sale or
19                        authorizing the employment of the auctioneer or broker.
      LBR 6004-1(h).
20
                  Here, pursuant to the Sale Motion (including the approval of the CNB Stipulation
21
      requested therein), the Debtor is requesting authority to pay from the proceeds of the sale of the Assets
22
      on closing: (1) Sherwoods Success Fee (as defined in the Sherwood Employment Application) in the
23
      amount of $38,707.20 (i.e., 9% of the Purchase Price of $430,080.00 as specified in the Sherwood
24
      Employment Application and Sherwood Employment Order) and (2) CNBs Secured Claim in the
25
      amount of $316,671.88. As noted above, even after the payment of the foregoing amounts, the Debtor
26
      will have substantial cash and AR on hand, as well as the reserve for the payment of bankruptcy
27
      related professional fees, to utilize to make substantial distributions to other classes of creditors. All
28

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1     of the foregoing payments are consistent with allowed disbursements of sale proceeds under LBR

2     6004-1(h).

3     D.            THE COURT SHOULD WAIVE THE 14-DAY STAY PERIOD SET FORTH IN
                    BANKRUPTCY RULE 6004(h).
4
                    FRBP 6004(h) provides, among other things, that an order authorizing the       sale    of
5
      property . . . is stayed until the expiration of 14 days after entry of the court order, unless the court
6
      orders otherwise. Fed.R.Bankr.P. 6004(h).
7
                    Here, the Bid Procedures approved by the Court provide a hearing on October 13, 2022
8
      and for Titan to close by no later than October 17, 2022. Based on the foregoing, the Debtor requests
9
      that the Court waive the stay under FRBP 6004(h) and that the Sale Order be effective immediately
10
      upon entry.
11
                                                        III.
12
                                                 CONCLUSION
13
                    WHEREFORE, the Debtor respectfully requests that this Court enter a Sale Order
14
      granting the Sale Motion and providing the relief requested in paragraphs (1) through (8) of the
15
      foregoing Sale Motion.
16
17    Dated: October 10, 2022            GUARACHI WINE PARTNERS INC.,
18                                       a California corporation,

19                                       /s/ Ron Bender
                                         RON BENDER
20                                       TODD M. ARNOLD
                                         LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
21
                                         Counsel for Chapter 11 Debtor and Debtor in Possession
22

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2                                    DECLARATION OF BERNIE MURPHY

3                 I, BERNIE MURPHY, hereby declare as follows:
4                 1.      I am over 18 years of age.      Except where otherwise stated, I have personal
5     knowledge of the facts set forth below and, if called to testify, would and could competently testify

6     thereto.
7                 2.      I make this declaration in support of the Sale Motion to which this declaration is
8     attached. Capitalized terms not otherwise defined herein shall have the same meaning ascribed to
9     such terms in the preceding Sale Motion.

10                3.      I am a Senior Managing Director of Sherwood Partners, Inc. (Sherwood), which

11    was retained as the Debtors sales agent in connection with an Auction of the Assets. I believe that
12    Sherwood was well-qualified to perform services as the Debtors sales agent as described in the

13    Sherwood Employment Application and herein. Sherwood, which has been operating since 1992, has

14    liquidated the assets of thousands of companies and has expertise in identifying potential buyers,
15    marketing assets and selling assets, including the Debtors wine brands and related intellectual
16    property.    Additional information regarding Sherwoods qualifications can be obtained at:
17    https://www.shrwood.com/Home.
18                4.      I am a Certified Public Accountant, have more than 28 years of experience, and

19    have managed more than 450 sale transactions for distressed companies, including their intellectual
20    property. I was primarily responsible for Sherwoods engagement by the Debtor. My resumé is

21    attached to the Sherwood Employment Application as Exhibit 3. While not included in Sherwoods
22    general firm resumé or my general personal resumé due to the vast number of sales that we have been

23    involved in, I have particular experience marketing and selling assets similar to those for which the

24    Debtor employed Sherwood to market and sell in this case. Sale transactions that I have managed
25    have included upwards of a dozen transactions for the sale of bulk wine, case goods, and other wine

26    and related products, and included the following sale and related transactions:
27                        My Wines Direct  Sold all bottled wine for $1 million to Grocery Outlet.

28                        Tasting Room  Small bottle format for consumers to taste different wines.

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1                              Crushpad  Provider of wine facility to allow consumers to make their own wine.

2                              Vinfolio  Wine storage business for high net worth consumers.

3                              Perfect Sip  Wine sale company
4     Further, prior to my time with Sherwood, I had several winery clients located in California, including
5     Concannon Vineyards, Wente Vineyards, Buena Vista Winery, and others. I am also personally an

6     active wine enthusiast, and I regularly participate in wine auctions as a prospective buyer.
7                     5.       In furtherance of its efforts to sell the Assets, on July 28, 2022, the Debtor filed the
8     Sherwood Employment Application [Dkt. 123] seeking (a) to employ Sherwood as the Debtors sales
9     agent in connection with an auction of the Assets, (b) to pay Sherwood a $35,000 Advisory Fee (as

10    defined in the Sherwood Employment Application), which has been paid, and (c) to pay Sherwood a

11    9% Success Fee (as defined in the Sherwood Employment Application, i.e., 9% of the total
12    consideration received from the sale of the Assets to third-parties) upon the closing pursuant to the

13    terms set forth in the Sherwood Employment Application and the Engagement Letter Agreement

14    between the Debtor and Sherwood attached to the Sherwood Employment Application as Exhibit 1,
15    as modified by the terms set forth in the Sherwood Employment Application. On August 22, 2022,
16    the Court entered the Sherwood Employment Order [Dkt. 136] approving the Sherwood Employment
17    Application, including the compensation set forth above.
18                    6.       Also on July 28, 2022, the Debtor filed its Bid Procedures Motion [Dkt. 125] to

19    approve the Bid Procedures for an auction of the Assets. In the Bid Procedures Motion, the Debtor
20    disclosed that Alejandro Guarachi, the Debtors owner, President, and CEO, may bid on certain

21    Assets and has retained counsel in connection with any such bid. Bid Procedures Motion, n.3 and
22    21:9-13. On August 22, 2022, the Court entered the Bid Procedures Order [Dkt. 137] approving the

23    Bid Procedures and authorizing Sherwood to execute and deliver a Bill of Sale of the Assets to the

24    winning bidder(s) for the Assets. The Bid Procedures approved by the Court and sent to Potential
25    Bidders6 are attached here to as Exhibit C. The Bid Procedures advised Potential Bidders that

26    [t]he Debtors inventory has some turnover as wine is purchased and sold in the ordinary course of
27
      6
          Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Bid Procedures.
28

                                                                    23
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1     the Debtors business. Therefore, the inventory list will be updated when the Bidding Procedures are

2     sent out to prospective Bidders and as the inventory list is further updated, the most current version of

3     the inventory list will be made available to prospective Bidders. The Bid Procedures require that the
4     sale of the Assets close by no later than October 17, 2022, unless the deadline is extended by mutual
5     agreement of the Debtor and the buyer.

6                 7.      Sherwood developed a target list of 90 Potential Bidders from Sherwoods
7     database, research, and discussions with the Debtors management. Sherwood provided the Potential
8     Bidders with information regarding the Auction, i.e., an Executive Summary regarding the Assets for
9     sale and the Bidding Procedures, which included a list of the Assets to be sold at the Auction, as

10    amended based on the removal of the Kaiken inventory, the PSI inventory, and other inventory sold in

11    the ordinary course of business. A summary of the outreach to Potential Bidders included the
12    following key dates:

13                        Sales Process Launch Date: August 30, 2022,

14                        First Follow-up: September 1, 2022,
15                        Second Follow-up: September 7, 2022,
16                        Third Follow-up: September 12, 2022,
17                        Fourth Follow-up: September 19, 2022,
18                        Fifth Follow-up: September 26, 2022; and

19                        Overall: communicating with Potential Bidders.
20                8.      Some of the key reasons for a number of bidders not bidding on the Assets

21    included the following:
22                        This category of wine is not a good fit and not aligned well with our business,

23                        The volume is too low,

24                        Outside our consumer health portfolio interests,
25                        They dont purchase out of bankruptcy situations or asset liquidations,

26                        Not in their core acquisition interests,
27                        Wine is of too low value for our customers, and

28                        They dont see this as a high growth consumer brand. s,

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2                   9.    Ultimately, Sherwood received three Qualified Bids from three Qualified Bidders,

3     as follows:

4
      Bidder                             Amount of Bid             Number of Cases      Assets_________
5     Grocery Outlet                     $217,080.00               18,090 cases         Inventory only
      Miller Family Wines (Miller)     $187,945.00               16,580 cases         Inventory and Brands
6     Titan                              $154,323.00               20,436 cases         Inventory and Brands
7
8                   10.   Some of the difference in the case count of the Inventory resulted from an error in
9     the function adding the total wine cases in Inventory. Based on the foregoing, and because the
10    highest bid did not include the Brands, in advance of the Auction, the Qualified Bidders were advised
11    by Sherwood that (a) the winning bid at the Auction would be the highest Qualified Bid submitted at
12    the Auction, regardless of which Assets the Qualified Bidder desired to include in its bid, (b) the
13    winning Bidder would have the right up until the time of the sale closing to exclude any Assets that
14    the winning Bidder elects not to take but the winning Bidder would not receive any credit or price
15    reduction for leaving any wine Inventory or Brands behind, (c) if the winning Bidder announces at
16    the conclusion of the Auction that there are certain Assets that the winning Bidder is not interested in
17    acquiring, the other Bidders would be welcome to submit a bid following the conclusion of the
18    Auction for some or all of those excluded Assets and any such bid would be considered for approval
19    by Sherwood, and (d) if the winning Bidder announces at a later date up until the time of the sale
20    closing that there are certain Assets that the winning Bidder is not interested in acquiring, Sherwood
21    will notify the other bidders of the availability of these excluded Assets and will provide the other
22    Bidders with the opportunity to submit a bid at that time for some or all of those excluded Assets and
23    any such bid will be considered for approval by Sherwood.
24                  11.   Pursuant to the Bid Procedures, the Auction commenced at 10:00 a.m. on October
25    6, 2022. All parties participated via Zoom as allowed by the Bid Procedures. Due to the fact that
26    Titan is an insider of the Debtor, Titan participated in the Auction via Mr. Guarachi and independent
27    counsel. Mr. Guarachi did not provide input on the Debtors side, and Sherwood with the assistance
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1     of LNBYG ran the Auction. The bids for the Assets at the Auction were as follows and, as noted

2     below, resulted in Titan being the winning Bidder with a bid/Purchase Price of $430,080:

3
      1     Grocery Outlet              $217,080        13    Miller                       $350,000
4     2     Miller                      $222,080        14    Titan                        $355,000
      3     Titan                       $227,080        15    Miller                       $375,000
5     4     Grocery Outlet              Out             16    Titan                        $380,000
            Break-out for Miller and                    17    Miller                       $390,000
6           Grocery Outlet to
7           discuss possible joint
            bid.
8     5     Miller                      $250,000        18    Titan                        $395,000
      6     Titan                       $255,000              Break-outs for Miller and
9                                                             Titan.
      7     Miller                      $275,000        19    Miller                       $400,000
10
            Break-outs for Miller                       20    Titan                        $405,000
11          and Titan.
      8     Titan                       $280,000        21    Miller                       $415,000
12    9     Miller                      $300,000        22    Titan                        $420,000
      10    Titan                       $305,000        23    Miller                       $425,080
13
      11    Miller                      $325,000        24    Titan  WINNING BID          $430,080
14    12    Titan                       $330,000        25    Miller                       Out

15

16                12.    At the conclusion of the Auction, Titan advised the other Qualified Bidders and

17    Sherwood that it would likely be excluding certain Assets from its purchase. Titan has not yet

18    specified the excluded Assets. Once Titan does so, Sherwood will offer to sell the excluded Assets to

19    the other Qualified Bidders and, if neither of them purchases the excluded Assets, the Debtor will

20    seek to otherwise dispose of them.

21                13.    For the reasons discussed herein and in my declaration in support of the

22    Sherwood Employment Application, I believe that the marketing of the Assets was expansive and

23    more than adequate under the circumstances.

24    ///

25    ///

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1                 14.      I believe that the Auction was conducted in conformance with the Bid Procedures,

2     without any collusion, and that the Auction yielded the highest possible price for the Assets under the

3     circumstances, particularly given the foregoing active bidding among three Qualified Bidders.
4                 I declare under penalty of perjury under the laws of the United States of America that the
5     foregoing is true and correct and that this Declaration was executed on October 10, 2022, at Santa

6     Clara, California.
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11                                                                     BERNIE MURPHY
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20                                     EXHIBIT A
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1      RON BENDER (State Bar No. 143364)
       TODD M. ARNOLD (State Bar No. 221868)
2      LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
3      2818 La Cienega Avenue
       Los Angeles, California 90034
4      Telephone: (310) 229-1234
       Facsimile: (310) 229-1244
5      Email: rb@lnbyg.com; tma@lnbyg.com
6      Attorneys for Chapter 11 Debtor and Debtor in Possession
7
8                               UNITED STATES BANKRUPTCY COURT

9                                CENTRAL DISTRICT OF CALIFORNIA
10
                                   SAN FERNANDO VALLEY DIVISION
11
12     In re:                                            Case No.: 1:22-bk-10545-VK

13     GUARACHI WINE PARTNERS INC.,                      Chapter 11 Case

14                  Debtor and Debtor in Possession.     Subchapter V
15

16                                                       STIPULATION PROVIDING FOR
                                                         PAYMENT IN FULL OF OUTSTANDING
17                                                       SECURED DEBT OWING TO CITY
                                                         NATIONAL BANK, N.A.
18

19                                                       [No Hearing on Stipulation Required]
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1                 This Stipulation Providing For Payment In Full Of Outstanding Secured Debt Owing To

2      City National Bank, N.A. (the Stipulation) is hereby entered into by and among (1) Guarachi Wine

3      Partners, Inc., the Chapter 11 debtor and debtor in possession herein (the Debtor), and (2) secured
4      creditor City National Bank, N.A. (CNB), by and through their undersigned counsel of record,
5      with respect to the following:

6                                                     RECITALS
7                 A.        On May 4, 2022, the Debtor commenced this bankruptcy case by filing a
8      voluntary petition under chapter 11 of the Bankruptcy Code. The Debtor is operating its business
9      and managing its estate as a debtor in possession.

10                B.        Also on May 4, 2022, the Debtor filed its Emergency Motion For Entry Of An

11     Interim Order: (I) Authorizing The Debtor To Use Cash Collateral On An Interim Basis Pending A
12     Final Hearing; (II) Granting Adequate Protection Replacement Liens; (III) Scheduling A Final

13     Hearing; And (IV) Granting Related Relief (the Motion). [Dkt. 4.]

14                C.        On May 11, 2022, the Court entered an order granting the Motion on an interim
15     basis. [Dkt. 29.]
16                D.        On June 23, 2022, the Court entered a final order granting the Motion on a final
17     basis (the Final Order). [Dkt. 77.]
18                E.        On September 6, 2022, the Court entered an order extending the term of the Final

19     Order. [Dkt. 145].
20                F.        At the time of the Debtors bankruptcy filing, the Debtor owed CNB a total

21     outstanding indebtedness of $400,000 secured by a senior lien against all of the Debtors assets.
22                G.        Pursuant to and in accordance with the various cash collateral orders entered by

23     the Court, the Debtor has made a total of $143,009.35 of principal pay down payments to CNB along

24     with all required interest payments. This has left CNB with a current outstanding balance owed,
25     after taking into account all of CNBs interest, fees and costs, of $316,671.88. A schedule showing

26     the computation of CNBs debt, which has been prepared by CNB, is attached hereto as Exhibit 1.
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1                 H.     The Debtor desires to pay the full amount of CNBs remaining outstanding debt.

2      NOW, THEREFORE, BASED ON THE FOREGOING RECITALS OF FACT, WHICH ARE

3      INCORPORATED INTO THE AGREEMENT BELOW, THE PARTIES HERETO AGREE
4      AS FOLLOWS:
5                 1.     Within three business days following the entry of an order of the Court approving

6     this Stipulation, the Debtor shall pay the sum of $316,671.88 to CNB, which, provided such payment
7     is made by no later than October 21, 2022, CNB acknowledges shall result in payment in full of the
8     Debtors outstanding indebtedness owing to CNB.
9                 2.     Within five business days following the Debtors payment to CNB, CNB shall file

10    a UCC-3 termination statement with the California Secretary of Statement terminating CNBs lien

11    against the Debtors assets. If CNB fails to timely file its UCC-3 termination statement, CNB
12    consents to the Debtors filing of such UCC-3 termination statement.

13
       Dated: October __, 2022          GUARACHI WINE PARTNERS INC.
14
                                        /s/ Ron Bender
15                                      RON BENDER
16                                      TODD M. ARNOLD
                                        LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
17                                      Counsel for Debtor and Debtor in Possession

18
       Dated: October __, 2022          CITY NATIONAL BANK, N.A.
19
20
                                        _________________________________
21                                      LANCE N. JURICH
                                        LOEB & LOEB LLP
22                                      Attorneys for Secured Creditor
23

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                                                  EXHIBIT 1
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                                       EXHIBIT B
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UCC Search®                                                                                                                                           http://searching.clasinfo.com/report/31154

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                                                                           2020 Hurley Way, Suite 350
                                                                             Sacramento, CA 95825
                                                                    clasorders@clasinfo.com || 800.952.5696




                                                                  UCC Search Report
                             Indices searched:          UCCs, Federal Tax Liens, State Tax Liens, Judgment Liens

                                    Jurisdiction:       California Secretary of State, Uniform Commercial Code Division

                                     Index date:        02/03/2022

                                   Search date:         02/16/2022

                                    Search type:        Debtor Name Search

                                  Debtor name:

                          Search key entered:           Guarachi Wine Partners


                                                                                       Results
              Based on a search of the indices of the California Secretary of State, Uniform Commercial Code Division, there are no active liens of record other than those set out
              below. Liens reflected in this report were based on the searcher's individual search parameters, the search key entered, as well asthe searcher's choice of the liens
              ultimately induded or excluded herein.
              Certification can only be obtained through the California Secretary of State, Uniform Commercial Code Division.

              For online searches, index dates are calculated using an algorithm that analyzes record counts and filing dates contained in the UCC and Lien data. Due to the
              implementation of new state filing systems as well as the effects of COVID-19 closures, state data has become more prone to inconsistencies making it difficult to
              assign index dates accurately. We encourage clients to consider these results as preliminary and to request an official search in addition.

                1. UCC (Active) Lapse Date: 11/03/2025
                 Document number: 20057047708482 Filed: 11/03/2005

                Debtor(s)                                                                            Secured Part(ies)
                GUARACHI WINE PARTNERS INC.                                                          CITY NATIONAL BANK
                22837 VENTURA BLVD., 3RD FLOOR WOODLAND HILLS, CA 91364                              PO BOX 60938 LOS ANGELES, CA 90060

                T.G.I.C. IMPORTERS INC.                                                              CITY NATIONAL BANK, NA
                23035 VENTURA BLVD., SUITE 200 WOODLAND HILLS, CA 91364                              15260 VENTURA BOULEVARD, SUITE 1600 SHERMAN OAKS, CA 91403

                T.G.I.C. IMPORTERS INC.
                22837 VENTURA BLVD., 3RD FLOOR WOODLAND HILLS, CA 91364

                Amendments
                Amendment
                Filing number: 200972065507 Filing date: 08/25/2009
                Continuation
                Filing number: 201072329158 Filing date: 05/26/2010
                Amendment
                Filing number: 201272984835 Filing date: 01/24/2012
                Amendment
                Filing number: 201574607841 Filing date: 04/21/2015
                Continuation
                Filing number: 201574677585 Filing date: 06/03/2015



1 of 2                                                                                                                                                                    2/16/2022, 12:32 PM
UCC Search®                                                                                                                                                                                                       http://searching.clasinfo.com/report/31154

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                     Amendment
                     Filing number: 201977443597 Filing date: 10/31/2019
                     Continuation
                     Filing number: U200011203316 Filing date: 08/13/2020
                     2. UCC (Active) Lapse Date: 11/30/2023
                      Document number: 20187684820923 Filed: 11/30/2018

                     Debtor(s)                                                                                                               Secured Part(ies)
                     GUARACHI WINE PARTNERS, INC.                                                                                            PARKER STATION INC.
                     22837 VENTURA BLVD., STE. 300 WOODLAND HILLS, CA 91364                                                                  6200 FOXEN CANYON RD., P.O. BOX 908 LOS OLIVOS, CA




              We assume no liability with respect to the identity of any party named or referred to in this report, nor with respect to the validity, legal effect or priority of any matter shown herein; nor, due to our inability to independently
              verify the accuracy of this data as provided by government and other sources, do we make any guaranty or representation as to its accuracy.

              Report Parameters
              The UCC Revised Article 9 Model Administrative Rules (MARS) provide state filing offices with a set of guidelines for producing a legally compliant UCC lien search report. The search tool used to create this search report
              was designed to satisfy the requirements under MARS while providing the searcher with increased flexibility.
              Flexible search logic generates a more inclusive search report and addresses the inconsistencies in searches performed within states that did not effectively adopt the MARS guidelines. Further, these specially designed
              broad-based searching features aid in the location of involuntary liens such as Federal and State Tax Liens and Judgment Liens and liens that may not be located in state databases limited to the MARS guidelines for the
              reporting of UCCs.

                                                                                              --------------- End Of Report ------------------




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12                                     EXHIBIT C
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                  BIDDING PROCEDURES - GUARACHI WINE PARTNERS INC.
1
2            These bidding procedures (the Bidding Procedures) relate to the proposed free and clear

3    sale by Guarachi Wine Partners Inc. (the Debtor) of its wine inventory, wine brands, and related

4    assets (the Assets), provided that the Assets offered for sale at the Auction (as defined below)
5
     will not include the Debtors accounts receivable. A schedule of the Assets being sold is attached
6
     hereto as Exhibit 1.
7
             At a hearing held on August 18, 2022 before the United States Bankruptcy Court for the
8
     Central District of California, San Fernando Valley Division (the Bankruptcy Court) Case No.:
9
10   1:22-bk-10545-VK, the Bankruptcy Court approved these Bidding Procedures, which are intended

11   to ensure that the highest and best possible price is paid for the Assets by one or more purchasers
12   who have the financial ability to close on their purchase of the Assets (the Sale). A copy of the
13
     Bankruptcy Court order (the Bidding Procedures Order) approving these Bidding Procedures is
14
     attached hereto as Exhibit 2.
15
             These Bidding Procedures assume that there will be an open auction for the sale of the
16

17   Assets with no stalking horse bidder.1

18                                    Free and Clear Sale of the Assets.

19           An auction (the Auction) will take place on October 6, 2022 commencing at 10:00 a.m.
20   (prevailing Pacific time). All Qualified Bidders (as defined below) and their representatives will
21
     be authorized to appear at the Auction in person or by Zoom video. In person bidding will take
22
     place at the law offices of Levene, Neale, Bender, Yoo & Golubchik L.L.P. (LNBYG), which
23
24

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26   1
      The Debtor reserves the right to seek a further order of the Bankruptcy Court to alter these Bidding
     Procedures, including to include a stalking horse bidder, if the Debtor determines that doing so is in the
27   best interests of its bankruptcy estate.
28                                                       1
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     is serving as bankruptcy counsel to the Debtor. The Zoom information for the Auction will be
1
2    provided in advance to all Qualified Bidders who wish to participate in the Auction by Zoom.

3           The sale of the Assets will be free and clear of all liens, claims and interests pursuant to

4    Section 363(b) and (f) of the Bankruptcy Code, with any liens that exist against the Assets to attach
5
     to the proceeds of the sale with the same extent, validity and priority as such liens have in and to
6
     the Assets. All sales of the Assets will be consummated with the delivery of a bill of sale signed
7
     by Sherwood Partners, Inc. (Sherwood) that will identify the buyer, the Assets being sold and
8
     the purchase price. Sherwood will have the authority to execute all such bills of sale as an
9
10   authorized agent of the Debtor.

11          The net sale proceeds (after Sherwood has been paid its 9% commission) from all sales of
12   the Assets will be deposited into a trust account maintained by LNBYG and will not be disbursed
13
     except in accordance with a further order of the Court.
14
                                              Bidding Process
15
            The Debtor has retained Sherwood to serve as the Debtors sales agent. Sherwood will
16

17   manage the Auction sale process and, with the assistance of LNBYG and input from the Debtor,

18   will conduct the Auction.

19                                      Lotting of Wine Inventory
20          The wine inventory will be broken into two primary lots  one containing Parker Station
21
     branded wine and one containing all other brands of wine (the Primary Lots). Each of the
22
     Primary Lots may be broken into sub-lots at the discretion of the Sherwood with input from the
23
     Debtor and LNBYG.
24

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                                     Key Dates for Interested Bidders
1
2           These Bidding Procedures provide interested parties with a detailed explanation of what

3    they need to do to participate in the Auction.

4           The key dates for the Auction and related free and clear asset sale process are as follows:
5
      September 29, 2022 at 5:00 p.m. (prevailing          Initial Bid Deadline  Due date for initial bids
6     Pacific time)                                        to be submitted by all parties who wish to
                                                           participate in the Auction. In order to
7                                                          participate in the Auction, all prospective
8                                                          bidders must do all of the following on or
                                                           before the foregoing deadline:
9                                                              1. Submit a schedule identifying all of
                                                                    the Assets that the bidder desires to
10                                                                  have the right to bid on together with
                                                                    their proposed initial bid;
11                                                             2. Submit all documents to enable
12                                                                  Sherwood to determine whether the
                                                                    proposed bidder is financially
13                                                                  qualified to participate in the Auction;
                                                                    and
14                                                             3. Submit a deposit equal to 10% of the
                                                                    proposed initial bid, which 10%
15                                                                  deposit would be deemed non-
16                                                                  refundable if the bidder is deemed to
                                                                    be the winning bidder at the Auction
17                                                                  and then the Debtors proposed free
                                                                    and clear sale of the Assets to the
18                                                                  bidder is approved by the Bankruptcy
                                                                    Court. Bidders will have the right to
19
                                                                    withdraw their bid at any time up until
20                                                                  Noon (prevailing Pacific time) on
                                                                    October 5, 2022, in which case they
21                                                                  will receive a return of their 10%
                                                                    deposit and no longer be eligible to
22                                                                  participate in the Auction.
23    October 6, 2022 at 10 a.m. (prevailing Pacific       Auction to be held at the offices of Levene,
      time)                                                Neale, Bender, Yoo & Golubchik L.L.P.,
24
                                                           which are located at 2818 La Cienega
25                                                         Avenue, Los Angeles, California 90034, or
                                                           via Zoom with all Qualified Bidders to be
26                                                         provided with particulars in advance of the
                                                           Auction.
27

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1     October 13, 2022 at 2:00 p.m.                       Sale Hearing to be conducted before the
                                                          Bankruptcy Court for the Bankruptcy Court
2                                                         to approve the Debtors sale of the Assets to
                                                          the winning bidder(s) at the Auction (the
3                                                         Sale Hearing)
4     October 17, 2022                                    Outside date by when the winning bidder(s)
                                                          at the Auction are required to close their
5
                                                          purchase of the Assets unless the winning
6                                                         bidder(s) and the Debtor jointly agree to
                                                          extend the outside closing date
7
8

9                     Due Diligence Access / Auction Participation Requirements

10           In order to participate in the Auction process as a bidder, a person or entity interested in
11   purchasing the Assets (a Potential Bidder) must deliver or have previously delivered to
12
     Sherwood all of the following documents (the Participation Requirements): (1) an executed non-
13
     disclosure agreement with the form to be obtained from Sherwood; (2) a statement demonstrating
14
     a bona fide interest in purchasing the Assets; and (3) one of the following: (i) written evidence of
15
16   readily available funds equal to the Potential Bidders initial bid and any increase the Potential

17   Bidder desires to have authority to bid to, with Sherwood to keep all such information completely

18   confidential, (ii) a firm commitment for financing sufficient for the Potential Bidder to timely
19   consummate its purchase of the Assets, or (iii) other sufficient information, which may include
20
     current audited financial statements and the latest unaudited financial statements of the Potential
21
     Bidder and/or its equity holders, or such other form of financial disclosure and credit-quality
22
     support or enhancement that will allow Sherwood to make a reasonable determination as to the
23
24   Potential Bidders financial and other capabilities to timely consummate their purchase of the

25   Assets. Any Potential Bidder who has satisfied the foregoing Participation Requirements will be

26   afforded, subject to the other provisions of these Bidding Procedures, due diligence access and
27

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     additional information through access to an online data room, as well as, upon reasonable advance
1
2    notice, on-site visits and direct communication with management as the Potential Bidder desires

3    and Sherwood determines to be appropriate under the circumstances and subject to the availability

4    of such management.
5
                                        Due Diligence Limitations
6
            The Debtor and Sherwood shall not be obligated to furnish any due diligence information
7
     to any Potential Bidder after the Bid Deadline (as defined below). In their discretion, the Debtor
8
     and Sherwood may, but shall not be obligated to, furnish additional information after the Bid
9
10   Deadline to Qualified Bidders. The Debtor and Sherwood reserve the right to withhold any due

11   diligence materials from any Potential Bidder that the Debtor and Sherwood determine are
12   business-sensitive or otherwise not appropriate for disclosure to any Potential Bidder who is a
13
     competitor of the Debtor or is affiliated with any competitor of the Debtor.
14
            Neither the Debtor nor Sherwood nor any of their representatives or advisors shall be
15
     obligated to furnish information of any kind whatsoever to any person or entity who is not
16

17   determined to have satisfied the Participation Requirements.

18          All due diligence requests must be directed to Sherwood, Attn: Bernie Murphy

19   bmurphy@sherwoodpartners.com.
20                                Due Diligence from Potential Bidders
21
            Each Potential Bidder shall comply with all reasonable requests for additional information
22
     by the Debtor or Sherwood or their advisors regarding such Potential Bidder, including, without
23
     limitation, the Potential Bidders financial ability to close the Sale. The failure by a Potential
24

25   Bidder to comply with any such requests may be a basis for the Debtor and Sherwood to determine

26   that such Potential Bidder is not or cannot be a Qualified Bidder.

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                                   Initial Bid Deadline for All Bidders
1
2           The deadline for all bidders to submit their initial bid for the Assets the bidder desires to

3    purchase (Initial Bid) is September 29, 2022 at 5:00 p.m. (prevailing Pacific time) (the Bid

4    Deadline). An Initial Bid may be transmitted electronically and must be received on or before
5
     the Bid Deadline by Sherwood and LNBYG (collectively, the Receiving Parties). An Initial Bid
6
     received after the Bid Deadline shall not be considered unless the Debtor and Sherwood, for good
7
     cause, consent.
8
                                            Bid Requirements
9
10          To be eligible to participate in the Auction, each Initial Bid and each Potential Bidder

11   submitting an Initial Bid (each, a Bidder) must be determined by the Debtor and Sherwood to
12   have satisfied all of the conditions listed below (collectively, the Bid Requirements):
13
            1.      Terms. An Initial Bid must identify which of the Assets the Bidder is making an
14
            Initial Bid upon and any other Assets the Bidder wants to be eligible to bid upon at the
15
            Auction, along with the Bidders proposed initial purchase price. The Initial Bid must be
16

17          signed by an authorized representative of the Bidder.

18          2.      No Contingencies. An Initial Bid must include a statement that there are no

19          conditions precedent to the Bidders authority to consummate its purchase of the Assets
20          bid upon, other than entry by the Bankruptcy Court of an order approving the sale of the
21
            Assets to the Bidder (the Sale Order).
22
            3.      Bid Requirements. An Initial Bid must set forth a cash purchase price for the
23
            Assets. Without limiting the generality of the foregoing, an Initial Bid (i) may not be
24

25          conditioned upon obtaining financing, any internal, regulatory, or other third party

26          approvals, or on the outcome or review of due diligence, (ii) may not provide for a closing

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           date (the Sale Closing) that will be later than October 17, 2022, unless both the Debtor
1
2          and the winning Bidder jointly agree to extend the Sale Closing date at their sole and

3          absolute discretion, and (iii) may not be conditioned upon the Bankruptcy Court Sale Order

4          approving the sale becoming a final order.
5
           4.     Irrevocable. An Initial Bid must state that unless the Bidder withdraws its Initial
6
           Bid by Noon (prevailing Pacific time) on October 5, 2022, the offer made by the Bidder in
7
           its Initial Bid is binding and irrevocable until the conclusion of the Sale Hearing and such
8
           Initial Bid must continue to remain binding and irrevocable through the Sale Closing if the
9
10         Initial Bid or any higher bid submitted by the Bidder at the Auction is accepted by the

11         Debtor at the Auction as the Winning Bid (as defined below) or the Winning Back-Up Bid
12         (as defined below) and approved by the Bankruptcy Court at the Sale Hearing.
13
           5.     Identity of Bidder. An Initial Bid must fully disclose the identity of each entity or
14
           person that will be bidding for or purchasing the Assets, including all material equity
15
           holders (i.e., parties that own at least 10% of the equity of the Bidder) in the case of a
16

17         Bidder that is an entity specially formed for the purpose of effectuating the contemplated

18         transaction, or otherwise participating in connection with such Initial Bid, and the complete

19         terms of any such participation, including any agreements, arrangements or understanding
20         concerning collaborative or joint bid or any other combination concerning the proposed
21
           Initial Bid. An Initial Bid must also fully disclose any connection with or participation by
22
           any insider of the Debtor or any relative or any affiliate of any insider of the Debtor.
23
           An Initial Bid must also fully disclose any connection with or participation by any current
24

25         creditor or equity holder of the Debtor.

26

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           6.     Contact Information.       An Initial Bid must include the names and contact
1
2          information (including phone numbers and email addresses) of all authorized

3          representatives of the Bidder who will be available to answer questions regarding the Initial

4          Bid, including advisors and related parties.
5
           7.     Deposit. An Initial Bid must include a good-faith deposit in immediately available
6
           funds equal to ten percent (10%) of the amount of the Initial Bid (the Deposit). If a
7
           Bidder elects to increase the amount of its Initial Bid at the Auction, the Bidder will not be
8
           required to increase the amount of its Deposit. If a bid submitted at the Auction (Bid),
9
10         including any Initial Bid, is determined to be the Winning Bid at the Auction and the Bidder

11         who submitted such Winning Bid fails to timely close the Sale for any reason other than
12         the Bankruptcy Court not approving the Winning Bid at the Sale Hearing, the Deposit shall
13
           become non-refundable and be forfeited to the Debtor. The same shall apply to any
14
           Winning Back-Up Bid in the event the Winning Bidder fails to timely close the Sale, the
15
           Winning Back-Up Bidder is notified in writing that it is now the Winning Bidder, and the
16

17         Winning Back-Up Bidder fails to close its purchase within ten (10) days of having been

18         notified that it is now the Winning Bidder, unless the Winning Bidder and the Debtor

19         jointly agree to extend the sale closing date. All Deposits of all Qualified Bidders shall be
20         held in a segregated trust account maintained by LNBYG and shall be returned (other than
21
           with respect to the Winning Bidder and the Winning Back-Up Bidder) promptly after the
22
           conclusion of the Auction. All Bidders shall have the right to withdraw their Initial Bid at
23
           any time up until Noon (prevailing Pacific time) on October 5, 2022, in which case the
24

25         Bidder will receive a return of their Deposit and be prohibited from participating in the

26         Auction.

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            8.      Financing Sources. An Initial Bid must contain written evidence of available
1
2           funds or a firm irrevocable commitment for financing sufficient to consummate the

3           proposed Sale with appropriate contact information for such financing sources, with

4           Sherwood to determine whether such evidence of financing satisfies these Bidding
5
            Requirements and enables the Bidder to participate in the Auction, with such determination
6
            to be in Sherwoods sole and absolute discretion.
7
            9.      Termination Fees. An Initial Bid must not entitle the Bidder to any break-up fee,
8
            termination fee, expense reimbursement or similar type of payment or reimbursement, and
9
10          by submitting the Initial Bid, the Bidder waives the right to pursue a substantial

11          contribution claim under 11 U.S.C. §503 related in any way to the submission of its Initial
12          Bid or its participation in the Auction.
13
            10.     Identities of the Receiving Parties: All Initial Bids must be delivered by email to
14
            each of the Receiving Parties:
15
            Sherwood, Attn: Bernie Murphy (bmurphy@sherwoodpartners.com); and LNBYG -
16

17   Attention: Ron Bender (RB@LNBYG.com) and Todd M. Arnold (TMA@LNBYG.com).

18                                Qualified Bidders and Qualified Bids

19          Potential Bidders who have satisfied the Participation Requirements and Bid Requirements
20   will be deemed Qualified Bidders, and Initial Bids that meet all of the Bid Requirements
21
     described above will be deemed Qualified Bids, in each case, only if the Debtor and Sherwood
22
     conclude in the exercise of their business judgment, that such Initial Bid would be consummated
23
     if selected as the Winning Bid; provided, however, that, for avoidance of doubt, if any Qualified
24

25   Bidder fails to comply with reasonable requests for additional information and due diligence access

26   from the Debtor or Sherwood to their satisfaction, the Debtor and Sherwood shall have right, in

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     their sole and absolute discretion, to disqualify any Qualified Bidder and Qualified Bid, and such
1
2    Bidder shall not be entitled to attend or otherwise participate in the Auction.

3                                    No Use of Unsecured Credit Bids

4           No unsecured creditor may offer any type of credit bidding in connection with any Bid or
5
     the Sale.
6
                                          Notice of Qualified Bids
7
            By 2:00 p.m. (prevailing Pacific time) on October 5, 2022, Sherwood shall identify to
8
     all Qualified Bidders: (a) each and every Initial Bid that Sherwood considers to be a Qualified Bid
9
10   and (b) if more than one Qualified Bid has been timely received, the Qualified Bid that will

11   constitute the Opening Bid at the Auction and the bidding order in which the Auction will be
12   conducted.
13
                                                   Auction
14
            If no Qualified Bids are received then the Auction will be deemed automatically cancelled
15
     unless the Debtor and Sherwood determine otherwise, in their sole and absolute discretion. If only
16

17   one Qualified Bid is received, there will be no Auction and the Qualified Bidder will be deemed

18   the Winning Bidder. If more than one Qualified Bid is received, the Auction will proceed as

19   scheduled with the Auction to commence at 10:00 a.m. (prevailing Pacific time) on October 6,
20   2022 at the law offices of Levene, Neale, Bender, Yoo & Brill L.L.P., 2818 La Cienega Avenue,
21
     Los Angeles, California 90034 [with Zoom participation permitted].
22
                                   Participation in and Attendance at Auction
23
            Only Sherwood, the Debtor, and Qualified Bidders along with their representatives,
24

25   counsel, and advisors may attend the Auction (such Auction to be in person or via Zoom, Webex

26

27

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     or similar virtual means, as applicable), and only Qualified Bidders shall be permitted to submit
1
2    any Bids at the Auction.

3                                No Collusion; Good Faith Bona Fide Offer

4            Each Qualified Bidder participating in the Auction will be required to confirm on the record
5
     at the Auction that: (i) it has not engaged in any collusion with respect to the bidding; (ii) its Initial
6
     Bid and any higher bid submitted at the Auction is a good-faith bona fide offer; (iii) it intends to
7
     consummate the proposed transaction if selected as the Winning Bidder; and (iv) it acknowledges
8
     that, if chosen, it will serve as the Winning Back-Up Bidder.
9
10                                        Opening Bid at the Auction

11           The Qualified Bid(s) determined by Sherwood and the Debtor to constitute the highest and
12   best Initial Bid(s) will serve as the opening bid(s) (the Opening Bid(s)) at the Auction. Sherwood
13
     will notify all Qualified Bidders in advance of the Auction which Initial Bid(s) have been accepted
14
     as the Opening Bid(s) at the Auction and the order in which the bidding at the Auction will proceed.
15
                                            Conducting the Auction
16

17           Sherwood and LNBYG will direct and preside over the Auction. At the start of the

18   Auction, and after each Qualified Bidder acknowledges on the record that it has not engaged in

19   any collusion with respect to the bidding, that its Initial Bid is a good faith bona fide offer, and
20   that it intends to consummate the proposed transaction if selected as the Winning Bidder or the
21
     Winning Back-Up Bidder, Sherwood and LNBYG will identify, confirm and describe the Opening
22
     Bid(s). The bidding will then ensue in the bidding order provided by Sherwood to all Qualified
23
     Bidders in advance of the Auction. All bidding after the Opening Bid shall continue in bidding
24

25   increments of at least $5,000 or figures that are wholly divisible by $5,000. All bids will be made

26   and received in one room (or otherwise in the presence via Zoom, Webex or similar virtual means

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     of all parties), on an open basis, and all Qualified Bidders will be entitled to be present for all
1
2    bidding with the understanding that the identity of each Qualified Bidder will be fully disclosed to

3    all Qualified Bidders before the Auction and the material terms of each Qualified Bid submitted

4    prior to the Auction, and all successive bids made at the Auction, will be fully disclosed to all
5
     Qualified Bidders. All Qualified Bidders will be permitted to bid at the Auction based on what
6
     Sherwood and LNBYG determine to be an appropriate amount of time to respond to each prior
7
     submitted Bid.
8
            Prior to the Auction, Sherwood will randomly assign to each Qualified Bidder a bidder
9
10   number, except that the Qualified Bidder whose Initial Bid was accepted as the Opening Bid will

11   be assigned bidder number 1. Once the Opening Bid has been described by Sherwood and
12   LNBYG, the bidding will then pass to Bidder number 2. Bidder number 2 will have the option of
13
     submitting an overbid to the Opening Bid of at least $5,000 or dropping out of the Auction. Once
14
     a Bidder drops out of the Auction, the Bidder will no longer be permitted to participate in the
15
     Auction. After Bidder number 2 either submits a qualifying overbid or drops out of the Auction,
16

17   the bidding will then pass to Bidder number 3. This process will continue until only two Qualified

18   Bidders are left for all or each subset of the Assets, in which case the Qualified Bidder who submits

19   the highest Qualified Bid will be deemed the Winning Bidder at the Auction, and the Qualified
20   Bidder who submits the second highest Qualified Bid will be deemed the Winning Back-Up Bidder
21
     at the Auction.
22
            Except as expressly provided in the Bidding Procedures Order or the provisions of these
23
     Bidding Procedures, the Debtor and Sherwood shall have the right to conduct the Auction in the
24

25   manner they reasonably determine, in the exercise of their business judgment, to be in the best

26   interests of the Debtors bankruptcy estate. The Debtor and Sherwood shall also have the right to

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     deviate from these Bidding Procedures without the need for any further order of the Bankruptcy
1
2    Court if they reasonably determine, in the exercise of their business judgment, that doing so would

3    be in the best interests of the Debtors bankruptcy estate and is not inconsistent with any of the

4    provisions of the Bankruptcy Code or any previously entered order of the Bankruptcy Court
5
     including the Bidding Procedures Order.
6
            Sherwood and LNBYG, in consultation with the Debtor, may (1) determine which
7
     Qualified Bid, if any, is the highest, best and otherwise financially superior offer and (2) reject at
8
     any time any Bid that is (i) inadequate or insufficient, (ii) not in conformity with the requirements
9
10   of the Bankruptcy Code or these Bidding Procedures, or (iii) contrary to the best interests of the

11   Debtor or its bankruptcy estate; provided that, the highest, best, and otherwise financially superior
12   offer shall be the Qualified Bid at the Auction reasonably expected to result in the highest amount
13
     of money being paid to the Debtor for their purchase of the Assets.
14
                Special Rules Applicable to City National Bank and Parker Station Inc.
15
            City National Bank (CNB) and Parker Station, Inc. (PSI) each assert liens on some or
16

17   all of the Debtors Assets.

18          Pursuant to Bankruptcy Code section 363(k), CNB shall have the right to credit bid all or

19   any portion of CNBs allowed secured claim (comprised of principal plus interest plus reasonable
20   attorneys fees less payments made by Debtor). CNB shall be deemed a Qualified Bidder, and any
21
     Bid submitted by CNB shall be deemed a Qualified Bid. CNB shall not be obligated to submit a
22
     Deposit with its Bid. CNB shall have the right to credit bid even if it does not bid in earlier rounds.
23
     Other than the foregoing, including to the extent CNB makes a Bid that exceeds any allowed
24

25   secured claim that CNB holds, CNB shall be bound by all other terms of the Bidding Procedures.

26

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28                                                     13
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             Pursuant to Bankruptcy Code section 363(k), PSI shall have the right to credit bid all or
1
2    any portion of PSIs allowed secured claim (less payments made by the Debtor) only in regard to

3    bidding on the Parker Station wines, brand and intellectual property (the PSI Assets). PSI shall

4    be deemed a Qualified Bidder for the PSI Assets, and any bid submitted by PSI on the PSI Assets
5
     shall be deemed a Qualified Bid for such PSI Assets. PSI shall not be obligated to submit a Deposit
6
     with its Bid. PSI shall have the right to credit bid on the PSI Assets even if it does not bid in earlier
7
     rounds for such assets. Other than the foregoing, including to the extent PSI makes a Bid on the
8
     PSI Assets that exceeds any allowed secured claim that PSI holds, PSI shall be bound by all other
9
10   terms of the Bidding Procedures

11                       Selection of the Winning Bid and Winning Back-Up Bid
12           The Auction shall continue until there is one Qualified Bid for all of the Assets or for any
13
     subset of the Assets that Sherwood and LNBYG, in consultation with the Debtor, determine,
14
     subject to Bankruptcy Court approval at the Sale Hearing, to be the highest and best bid (the
15
     Winning Bid), and another Qualified Bid to be the second highest and best bid (the Winning
16

17   Back-Up Bid), at which point the Auction will be deemed concluded. The Debtor will not

18   consider any Bids submitted after the conclusion of the Auction.

19           Subject to the Bankruptcy Court approving the Winning Bid(s) at the Sale Hearing and
20   entering the Sale Order approving of the Debtors free and clear sale of the Assets to the Winning
21
     Bidder(s), the Winning Bidder(s) shall be requiring to close their purchase of the Assets by
22
     October 17, 2022 (unless the Debtor and the Winning Bidder jointly agree to an extension of this
23
     outside Sale closing date which will be in their sole and absolute discretion), or the Winning
24

25   Bidder(s) will be deemed to have forfeited their Deposit to the Debtor. Promptly following the

26

27

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     closing of the Sale to the Winning Bidder, LNBYG shall return the Deposit of the Winning Back-
1
2    Up Bidder to the Winning Back-Up Bidder.

3           If the Winning Bidder(s) fail to close their purchase by October 17, 2022, unless the

4    Debtor and the Winning Bidder mutually agree in their sole and absolute discretion to extend the
5
     closing date, Sherwood shall so notify the Winning Back-Up Bidder. The Winning Back-Up
6
     Bidder will then have ten (10) days following the date of having been notified by Sherwood to
7
     close the Sale. If the Winning Back-Up Bidder fails to close the Sale within this time period,
8
     unless the Debtor and the Winning Back-Up Bidder mutually agree in their sole and absolute
9
10   discretion to extend the closing date, the Winning Back-Up Bidder will be deemed to have forfeited

11   its Deposit to the Debtor.
12                    Return of Deposits Following the Completion of the Auction
13
            Promptly following the completion of the Auction, LNBYG will return the Deposits of all
14
     Bidders except for the Deposits of the Winning Bidder and the Winning Back-Up Bidder.
15
                                               Sale Hearing
16

17          The Sale Hearing for the Bankruptcy Court to approve the outcome of the Auction and the

18   Debtors sale of the Assets to the Winning Bidder(s) and to the Winning Back-Up Bidder(s) if the

19   Winning Bidder(s) fail to close timely shall be held on October 13, 2022, at 2:00 p.m., or at such
20   other date and time set by the Bankruptcy Court.
21
                                        Conduct of Sale Hearing
22
            Because of the COVID-19 pandemic, the Bankruptcy Court will conduct the Sale Hearing
23
     using ZoomGov audio and video technology. Participants and members of the public may
24

25   participate in and/or observe the Sale Hearing using ZoomGov, free of charge. Individuals may

26   connect by ZoomGov audio and video using a personal computer (equipped with camera,

27

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     microphone and speaker), or a handheld mobile device with an integrated camera, microphone and
1
2    speaker (such as an iPhone, iPad, Android phone or Android tablet). The connection can be

3    initiated by entering the Meeting URL into a web browser on any of these devices, provided the

4    device is connected to the Internet. Individuals connecting in this manner will be prompted for
5
     the Meeting ID and Password. Individuals may also connect to the Sale Hearing by telephone
6
     only. Individuals connecting to the Sale Hearing by telephone will also be prompted for the
7
     Meeting ID and Password. Neither a Zoom nor a ZoomGov account is necessary to participate in
8
     or observe the Sale Hearing, and no pre-registration is required. The Zoom information will be
9
10   provided to parties in interest prior to the Sale Hearing. More information on appearing before the

11   Bankruptcy Court by ZoomGov is available in the Notice of Audio and Video Procedures for
12   Judge    Victoria     S.   Kaufmans   Cases    on   the    Bankruptcy    Courts    website    at
13
     https://www.cacb.uscourts.gov/judges/honorable-victoria-s-kaufman under the Phone/Video
14
     Appearances section.
15
                                             Audio Recording
16

17           The audio portion of the Sale Hearing will be recorded electronically by the Bankruptcy

18   Court and constitute its official record. All persons are strictly prohibited from making any other

19   recording of court proceedings, whether by video, audio, screenshot, or otherwise. Violation of
20   this prohibition may result in the imposition of monetary and non-monetary sanctions.
21
                                    Option of Early Acceptance of Bids
22
             In the event that Sherwood receives any bid for any of the Assets prior to the various
23
     deadlines established above that Sherwood, in consultation with the Debtor, believes justify
24

25   immediate acceptance rather than waiting for the Auction, the Debtor will proceed with the

26   following protocol:

27

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           -   The Debtor will file a notice with the Court identifying the Assets that were bid upon,
1
2              the proposed purchase price, the anticipated closing date, and a short statement as to

3              why Sherwood, in consultation with the Debtor, believes that acceptance of the offer

4              prior to the various deadlines established above is in the best interests of the Debtors
5
               estate.
6
           -   Creditors will have five days following the filing of any such notice to file an objection
7
               with the Court.
8
           -   If no timely objection is filed, the Debtor will file a proposed order with the Court
9
10             providing for such sale of the Assets to the proposed buyer free and clear of all liens,

11             claims and interests, and Sherwood will proceed to consummate that sale and issue the
12             bill of sale to the proposed buyer following receipt of the buyers purchase price.
13
           -   As with all sales of the Assets, the net sale proceeds (after Sherwood has been paid its
14
               9% commission) will be deposited into a trust account maintained by LNBYG and will
15
               not be disbursed except in accordance with a further order of the Court.
16

17         -   If a timely objection is filed, Sherwood will not proceed to consummate that sale unless

18             the proposed sale of Assets is approved by the Court pursuant to an entered order of

19             the Court.
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                                                             1
1
2                                   ASSETS OFFERED FOR SALE

3
4                                herefore, as the inventory list is updated, the most current version of
5
         the inventory list will be made available to prospective Bidders via the data room for the
6
                                                 Auction.]
7
8

9
10   Brands and related intellectual property:

11   Serial Number Reg. Number           Word Mark           Check Status Live/Dead Class(es)
12   88393698                        LUCAS & SOPHIE TSDR                    LIVE

13   87479043         5546992        THE PEDALER             TSDR           LIVE        033
     87159125         5387645        BACON                   TSDR           LIVE        033
14
     86141321         4736190        BLACK INK               TSDR           LIVE
15   77304559         3805208        PARKER STATION TSDR                    LIVE
16   77045650         3362968        NOBILISSIMA             TSDR           LIVE        033

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18
19   Inventory   See Exhibit 1.a

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                              EXHIBIT 1.a
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              Guarachi Wine Partners Inventory Summary                          8/26/2022
  Ref
Number Name                                                Size   Bottle/Case   # Cases
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  Ref
Number Name                                              Size   Bottle/Case   # Cases
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  Ref
Number Name                                              Size   Bottle/Case   # Cases
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  Ref
Number Name                                              Size   Bottle/Case   # Cases




                          Total Cases                                            30,654
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                                                2
1
2                              BID PROCEDURES ORDER

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1      RON BENDER (State Bar No. 143364)
       TODD M. ARNOLD (State Bar No. 221868)
2      LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
3      2818 La Cienega Avenue
       Los Angeles, California 90034
4      Telephone: (310) 229-1234
       Facsimile: (310) 229-1244
5      Email: rb@lnbyg.com; tma@lnbyg.com
                                                                      CLERK U.S. BANKRUPTCY COURT
                                                                      Central District of California
6      Attorneys for Debtor and Debtor in Possession                  BY Pgarcia DEPUTY CLERK


7
8                                UNITED STATES BANKRUPTCY COURT

9                                 CENTRAL DISTRICT OF CALIFORNIA
10
                                   SAN FERNANDO VALLEY DIVISION
11
12
       In re:                                          Case No.: 1:22-bk-10545-VK
13
       GUARACHI WINE PARTNERS INC.,                    Chapter 11 Case
14     a California corporation,
                                                       Subchapter V
15
                    Debtor and Debtor in Possession.
16
                                                       ORDER GRANTING            MOTION
17                                                     TO: (1) APPROVE AUCTION AND BID
                                                       PROCEDURES FOR THE SALE OF
18                                                     ASSETS AND (2) SET SCHEDULING FOR
                                                       A MOTION TO APPROVE THE SALE OF
19                                                     ASSETS
20

21                                                     Hearing:
                                                        Date: August 18, 2022
22                                                      Time: 2:00 p.m.
                                                        Place: Courtroom 301
23                                                              21041 Burbank Boulevard
24                                                              Woodland Hills, CA 91367
                                                                VIA ZOOMGOV
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1                     A hearing was scheduled at the above-referenced date, time, and location for the Court to

2     consider the Motion To: (1) Approve Auction And Bid Procedures For The Sale Of Assets And (2) Set

3     Scheduling For A Motion To Approve The Sale Of Assets                        Motion            125]1 filed by Guarachi
4     Wine Partners Inc., the Chapter 11 debtor a                                                                 Debtor
5     Appearances were excused, but any appearances that were made were set forth on the record of the

6     Court.
7                     The Court, having considered the Motion and all of the pleadings filed by the Debtor in
8     support of the Motion, any statements, arguments, and representations at the hearing on the Motion,
9     and that no opposition to the Motion was filed, and for good cause appearing,

10                    HEREBY FINDS, ORDERS AS FOLLOWS:

11                    (1)      The Motion is hereby granted except that the Debtor agrees that all of the net sale
12    proceeds from the Auction will be held by the Debtor in its debtor-in-possession account and not

13    spent except in accordance with further order of the Court.

14                    (2)      The Bid Procedures attached to the Motion as Exhibit A and the Sale Motion
15    Scheduling set forth in the Motion, which include the following key dates, are hereby approved:

16
17         September 29, 2022 at 5:00 p.m.                          Initial Bid Deadline
           (prevailing Pacific time)
18         October 6, 2022 at 10 a.m.                               Auction to be held at the offices of Levene, Neale,
           (prevailing Pacific time)                                Bender, Yoo & Golubchik L.L.P., which are
19                                                                  located at 2818 La Cienega Avenue, Los Angeles,
                                                                    California 90034, or via Zoom with all Qualified
20                                                                  Bidders to be provided with particulars in advance
                                                                    of the Auction.
21
           October 10, 2022, at 9:00 a.m.                           Deadline for the Debtor to file and serve motion
22         (prevailing Pacific time)                                                                       Sale
23                                                                  Motion
           October 12, 2022, at 2:00 p.m.                           Deadline for any parties in interest to file and
24         (prevailing Pacific time)                                                        Oppositions
25                                                                  Motion.

26         October 13, 2022 at 2:00 p.m.                            Sale Hearing to be conducted before the
           (prevailing Pacific time)                                Bankruptcy Court on the Sale Motion and
27
      1
28        Capitalized terms not otherwise defined herein have the meanings ascribed to them in the Motion.


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1
                                                deadline for replies to any Oppositions to the Sale
2                                               Motion, which replies may be made orally at the
                                                Sale Hearing.
3
        October 17, 2022                       Outside date by when the winning bidder(s) at the
4                                              Auction are required to close their purchase of the
                                               Assets unless the winning bidder(s) and the Debtor
5                                              jointly agree to extend the outside closing date

6
7                IT IS SO ORDERED.

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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is: 2818
La Cienega Avenue, Los Angeles, California 90034

A true and correct copy of the foregoing document entitled (specify): DEBTORS MOTION FOR AN ORDER: (1)
APPROVING SALE OF CERTAIN ESTATE ASSETS FREE AND CLEAR OF ALL LIENS, CLAIMS, ENCUMBRANCES
AND INTERESTS; (2) APPROVING THE STIPULATION PROVIDING FOR PAYMENT IN FULL OF OUTSTANDING
SECURED DEBT OWING TO CITY NATIONAL BANK, N.A.; (3) WAIVING THE 14-DAY STAY PERIOD OF
BANKRUPTCY RULE 6004(h); AND (4) GRANTING RELATED RELIEF; MEMORANDUM OF POINTS AND
AUTHORITIES AND DECLARATIONS IN SUPPORT THEREOF will be served or was served (a) on the judge in
chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
October 10, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

        Todd M Arnold tma@lnbyg.com
        William C Beall will@beallandburkhardt.com, carissa@beallandburkhardt.com
        Ron Bender rb@lnbyg.com
        Katherine Bunker kate.bunker@usdoj.gov
        Moriah Douglas Flahaut (TR) douglas.flahaut@arentfox.com, C194@ecfcbis.com
        Richard H Golubow rgolubow@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com
        Lance N Jurich ljurich@loeb.com, karnote@loeb.com;ladocket@loeb.com;ljurich@ecf.courtdrive.com
        Shane J Moses smoses@foley.com, llanglois@foley.com;lanii-langlois-
        4514@ecf.pacerpro.com;swells@foley.com
        Eric A. Nyberg e.nyberg@kornfieldlaw.com
        James V. Sansone jsansone@cmprlaw.com, dmarshall@cmprlaw.com
        United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov

2. SERVED BY UNITED STATES MAIL: On (date) October 10, 2022, I served the following persons and/or entities at
the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

None.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) October 10, 2022, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
VIA OVERNIGHT MAIL
Honorable Victoria S. Kaufman
United States Bankruptcy Court
Central District of California
21041 Burbank Boulevard, Suite 354 / Courtroom 301
Woodland Hills, CA 91367
                                                                           Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 October 10, 2022                    Todd M. Arnold                                             /s/ Todd M. Arnold
 Date                           Printed Name                                                    Signature
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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                                        Debtor                                 Katherine Bunker
In re Guarachi Wine Partners            Guarachi Wine Partners Inc.            Office of the U.S. Trustee
RSN and 20 Largest                      27001 Agoura Rd.                       915 Wilshire Blvd., Ste. 1850
File No. 9722                           Suite 285                              Los Angeles, CA 90017
                                        Calabasas, CA 91301


Counsel for Miller Family Wine Co.      Counsel for Bodega Norton, S.A.        Trustee
John H. Haan, Jr. / Nathan C. Rogers    David M. Jolley / Kathleen B. Friend   Moriah Douglas Flahaut (TR)
Rogers, Sheffield & Campbell, LLP       Donahue Fitzgerald LLP                 Arent Fox LLP
427 East Carrillo Street                1999 Harrison Street, 26th Floor       555 West Fifth Street, 48th Floor
Santa Barbara, CA 93101                 Oakland, California 94612-3520         Los Angeles, CA 90013



                                                       20 Largest



Agricola San Jose De Peralillo S.A.     Albatrans, Inc.                        Biagi Bros., Inc.
Rut.96.655.110-0                        149-10 183rd Street                    Attn: Neil Lawrence
Santiago                                Jamaica, NY 11413                      787 Airpark Road
Chile                                                                          Napa, CA 94558


Allied Beverage Group LLC               Araex Rioja Alavesa, SL                Bodegas Vivanco SL
700 Kapkowski Road                      Attn: Javier R. de Galarreta           Attn: Luis Mendi
Elizabeth, NJ 07201                     C/ Ramon y Cajal 7, 1 A                Ctra. N-232, 26330, Briones
                                        Vitoria                                La Rioja
                                        Spain 1007                             Spain

Breakthru Beverage Group- Florida       Bodega Norton, S.A.                    City National Bank
Attn: Robert Leon                       Attn: Michael Halstrick                Credit Card Processing Center
500 East Broward Blvd.                  Ruta Provincial 15, km 23.5            Pasadena, CA 91199-1355
Fort Lauderdale, FL 33394               Mendoza
                                        Chile

Kaiken S.A.                             Cantina Montelliana                    Jackson Lewis P.C.
Saenz Pena 5516                         e dei Colli Asolani                    P.O. Box 416019
Mendoza                                 Via Caonada, 1, 31044                  Boston, MA 02241-6019
Argentina CP5509                        Montebelluna TV, Italy


Miller Family Wine Company, LLC         ITN Consolidators,Inc.                 MHW Ltd./ Christiania
Attn: Nicholas Miller                   P.O. Box 931423                        1129 Northern Blvd.
132 E. Cabrillo St.                     Atlanta, GA 31193-1423                 Manhasset, NY 11030
Santa Barbara, CA 93101


Parker Station, Inc.                    Majuelos Iberia, S.L.                  O'Neill Beverages Co. LLC
Attn: Timothy Snider                    Attn: Javier Delgado                   Attn: Jeffrey ONeill
PO Box 908                              Calle Urgabona, 32                     8418 S. Lac Jac
Los Olivos, CA 93441                    Venturada Madrid                       Parlier, CA 93648
                                        Spain, 28729

Vina VIK SPA                            Small Business Administration
Avenida Alonso de Cordova 5320          Attn: So Cal Legal Unit
Las Condes-Santiago                     330 N. Brand Blvd., Ste 1200
Chile                                   Glendale, CA 91203-2304
